21-12075-dsj       Doc 175        Filed 03/18/22 Entered 03/18/22 18:04:15                    Main Document
                                              Pg 1 of 121



Sidney P. Levinson
Isabella M. Cusano
DEBEVOISE & PLIMPTON LLP
919 Third Avenue
New York, New York 10022
Telephone:    (212) 909-6000
Facsimile:    (212) 909-6836

Counsel for JLPS Leasing Uranus Limited and
JLPS Leasing Draco Limited

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                             Chapter 11

JPA NO. 111 CO., LTD., and                                        Case No. 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                                  (Jointly Administered)
                 Debtors.1


      SECOND SUPPLEMENTAL DECLARATION OF SIDNEY P. LEVINSON
  IN SUPPORT OF RESPONSE OF JLPS LEASING URANUS LIMITED AND JLPS
LEASING DRACO LIMITED TO PROPOSED STIPULATION AND AGREED ORDER

        I, Sidney P. Levinson, an attorney duly admitted to practice in the Southern District of

New York, declare under penalty of perjury and pursuant to 28 U.S.C. § 1746:

        1.       I submit this supplemental declaration in support of the Response of JLPS Leasing

Uranus Limited and JLPS Leasing Draco Limited to Proposed Stipulation and Agreed Order in

the above captioned cases (the “Response”), and state that true and correct copies of the

following documents are attached as exhibits hereto: 2



1
    The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The Debtors’
    corporate address is: Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki, Chiyoda-Ku, Tokyo 100-
    0013.
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Response.
21-12075-dsj     Doc 175      Filed 03/18/22 Entered 03/18/22 18:04:15          Main Document
                                          Pg 2 of 121



       2.      Attached as Exhibit 1 is an email that I sent on Monday, March 7, 2022, at 4:48 pm

to the recipients shown on the email.

       3.      Attached as Exhibit 2 is an email sent by Jared Borriello on Friday, March 11, 2022,

at 11:54 am to myself and the other recipients shown in the email.

       4.      Attached as Exhibit 3 is an email sent by Jared Borriello on Sunday, March 13,

2022, at 8:04 am to myself and the other recipients shown in the email.

       5.      Attached as Exhibit 4 is an email that I sent on Sunday, March 13, 2022, at 10:27

am to the recipients shown on the email.



Dated: March 18, 2022                          /s/ Sidney P. Levinson                _____
       New York, New York
                                               Sidney P. Levinson
                                               DEBEVOISE & PLIMPTON LLP
                                               919 Third Avenue
                                               New York, New York 10022
                                               Telephone:    (212) 909-6000
                                               Facsimile:    (212) 909-6836
                                               Email:        slevinson@debevoise.com

                                               Counsel for JLPS Leasing Uranus Limited
                                               and JLPS Leasing Draco Limited




                                                2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                     Pg 3 of 121




                                     Exhibit 1
21-12075-dsj         Doc 175          Filed 03/18/22 Entered 03/18/22 18:04:15                     Main Document
                                                  Pg 4 of 121


From: Levinson, Sidney P. <slevinson@debevoise.com>
Sent: Monday, March 7, 2022 4:48 PM
To: Jared Borriello <jborriello@teamtogut.com>
Cc: Benjamin Finestone <benjaminfinestone@quinnemanuel.com>; Asher Griffin
<ashergriffin@quinnemanuel.com>; Justin Griffin <justingriffin@quinnemanuel.com>; Eric Winston
<ericwinston@quinnemanuel.com>; Zachary Russell <zacharyrussell@quinnemanuel.com>; Emiliano
Delgado <emilianodelgado@quinnemanuel.com>; Scott Lucy <scottlucy@quinnemanuel.com>; Bryan
Kotliar <bkotliar@teamtogut.com>; Kyle Ortiz <kortiz@teamtogut.com>; Brian Shaughnessy
<bshaughnessy@teamtogut.com>; Swain, Patrick <pswain@debevoise.com>; Farmer, Hugo
<hfarmer@debevoise.com>; Cusano, Isabella <imcusano@debevoise.com>
Subject: RE: JPA/Draft Stipulation & Agreed Order
Attachments: 1007727038v4-Stipulation and Agreed Order.DOCX; Redline.pdf

Jared –

Our revisions to the version of the order circulated by Ben earlier today are attached (clean and
blackline), which incorporates the changes I sent to you last Wednesday. Please let me know if you have
questions or want to discuss.

Thanks, Sid.



Sidney P. Levinson | Partner   | Debevoise & Plimpton LLP | slevinson@debevoise.com | +1 212 909
6913| www.debevoise.com


From: Levinson, Sidney P.
Sent: Monday, March 7, 2022 1:17 PM
To: Jared Borriello <jborriello@teamtogut.com>
Cc: Benjamin Finestone <benjaminfinestone@quinnemanuel.com>; Asher Griffin
<ashergriffin@quinnemanuel.com>; Justin Griffin <justingriffin@quinnemanuel.com>; Eric Winston
<ericwinston@quinnemanuel.com>; Zachary Russell <zacharyrussell@quinnemanuel.com>; Emiliano
Delgado <emilianodelgado@quinnemanuel.com>; Scott Lucy <scottlucy@quinnemanuel.com>; Bryan
Kotliar <bkotliar@teamtogut.com>; Kyle Ortiz <kortiz@teamtogut.com>; Brian Shaughnessy
<bshaughnessy@teamtogut.com>; Swain, Patrick <pswain@debevoise.com>; Farmer, Hugo
<hfarmer@debevoise.com>; Cusano, Isabella <imcusano@debevoise.com>
Subject: Re: JPA/Draft Stipulation & Agreed Order

Thanks Jared and will do. Sid

Debevoise
& Plimpton
Sidney P. Levinson
Partner

slevinson@debevoise.com
+1 212 909 6913 (Tel)




                                                             1
21-12075-dsj         Doc 175          Filed 03/18/22 Entered 03/18/22 18:04:15                     Main Document
                                                  Pg 5 of 121




www.debevoise.com


This e-mail message is intended only for the use of the individual or entity to which it is addressed and
may contain information that is privileged, confidential and exempt from disclosure. If you are not the
intended recipient, please do not disseminate, distribute or copy this communication, by e-mail or
otherwise. Instead, please notify us immediately by return e-mail (including the original message in your
reply) and by telephone (you may call us collect in New York at 1-212-909-6000) and then delete and
discard all copies of the e-mail. Thank you.
The latest version of our Privacy Policy, which includes information about how we collect, use and
protect personal data, is at www.debevoise.com.




On Mar 7, 2022, at 1:14 PM, Jared Borriello <jborriello@teamtogut.com> wrote:

Sid:

If I omitted your proposed changes, it was unintentional. Please include them in the redline you send
over this afternoon.

Thanks.
________________________________
Jared C. Borriello
Togut, Segal & Segal LLP
One Penn Plaza | Suite 3335 | New York, NY 10119
jborriello@teamtogut.com

Direct Tel: (212) 201-6571
Mobile: (646) 512-2039
Fax: (212) 967-4258

www.togutlawfirm.com



On Mar 7, 2022, at 1:01 PM, Levinson, Sidney P. <slevinson@debevoise.com> wrote:

A few, we’ll send over this afternoon. You ignored our proposed changes to Paragraph 2 sent last week,
any reason for that? Also, please copy our team (copied on this email) on these emails. Thanks, Sid.

Sidney P. Levinson | Partner   | Debevoise & Plimpton LLP | slevinson@debevoise.com | +1 212 909
6913| www.debevoise.com


From: Jared Borriello <jborriello@teamtogut.com>
Sent: Monday, March 7, 2022 12:32 PM




                                                             2
21-12075-dsj      Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15            Main Document
                                         Pg 6 of 121


To: Levinson, Sidney P. <slevinson@debevoise.com>
Cc: Benjamin Finestone <benjaminfinestone@quinnemanuel.com>; Asher Griffin
<ashergriffin@quinnemanuel.com>; Justin Griffin <justingriffin@quinnemanuel.com>; Eric Winston
<ericwinston@quinnemanuel.com>; Zachary Russell <zacharyrussell@quinnemanuel.com>; Emiliano
Delgado <emilianodelgado@quinnemanuel.com>; Scott Lucy <scottlucy@quinnemanuel.com>; Bryan
Kotliar <bkotliar@teamtogut.com>; Kyle Ortiz <kortiz@teamtogut.com>; Brian Shaughnessy
<bshaughnessy@teamtogut.com>
Subject: Re: JPA/Draft Stipulation & Agreed Order

Sid:

Do you have any comments to the stipulation?
________________________________
Jared C. Borriello
Togut, Segal & Segal LLP
One Penn Plaza | Suite 3335 | New York, NY 10119
jborriello@teamtogut.com

Direct Tel: (212) 201-6571
Mobile: (646) 512-2039
Fax: (212) 967-4258

www.togutlawfirm.com



On Mar 7, 2022, at 11:43 AM, Benjamin Finestone <benjaminfinestone@quinnemanuel.com> wrote:

I don’t know about Debevoise and don’t know how closely you kept them in the loop over the weekend
so not sure if they need time.
We are good (assuming no comments from the sub rosa plan proponents).

Ben Finestone
212-849-7341 Office
917-846-3228 Mobile


From: Jared Borriello <jborriello@teamtogut.com>
Sent: Monday, March 7, 2022 11:41 AM
To: Benjamin Finestone <benjaminfinestone@quinnemanuel.com>
Cc: Levinson, Sidney P. <slevinson@debevoise.com>; Asher Griffin <ashergriffin@quinnemanuel.com>;
Justin Griffin <justingriffin@quinnemanuel.com>; Eric Winston <ericwinston@quinnemanuel.com>;
Zachary Russell <zacharyrussell@quinnemanuel.com>; Emiliano Delgado
<emilianodelgado@quinnemanuel.com>; Scott Lucy <scottlucy@quinnemanuel.com>; Bryan Kotliar
<bkotliar@teamtogut.com>; Kyle Ortiz <kortiz@teamtogut.com>; Brian Shaughnessy
<bshaughnessy@teamtogut.com>
Subject: Re: JPA/Draft Stipulation & Agreed Order




                                                   3
21-12075-dsj      Doc 175      Filed 03/18/22 Entered 03/18/22 18:04:15              Main Document
                                           Pg 7 of 121


                             [EXTERNAL EMAIL from jborriello@teamtogut.com]


Ben:

We’re fine with your proposed changes. Are there any more comments from Quinn or Debevoise? If
not, I'll circulate an execution version. All rights reserved.


________________________________
Jared C. Borriello
Togut, Segal & Segal LLP
One Penn Plaza | Suite 3335 | New York, NY 10119
jborriello@teamtogut.com

Direct Tel: (212) 201-6571
Mobile: (646) 512-2039
Fax: (212) 967-4258

www.togutlawfirm.com



On Mar 7, 2022, at 11:36 AM, Benjamin Finestone <benjaminfinestone@quinnemanuel.com> wrote:

what is the anticipated timing on this?

Ben Finestone
212-849-7341 Office
917-846-3228 Mobile


From: Benjamin Finestone
Sent: Monday, March 7, 2022 9:36 AM
To: Jared Borriello <jborriello@teamtogut.com>; Levinson, Sidney P. <slevinson@debevoise.com>
Cc: Asher Griffin <ashergriffin@quinnemanuel.com>; Justin Griffin <justingriffin@quinnemanuel.com>;
Eric Winston <ericwinston@quinnemanuel.com>; Zachary Russell <zacharyrussell@quinnemanuel.com>;
Emiliano Delgado <emilianodelgado@quinnemanuel.com>; Scott Lucy <scottlucy@quinnemanuel.com>;
Bryan Kotliar <bkotliar@teamtogut.com>; Kyle Ortiz <kortiz@teamtogut.com>; Brian Shaughnessy
<bshaughnessy@teamtogut.com>
Subject: RE: JPA/Draft Stipulation & Agreed Order

some minor comments to the proposed filing. Subject to seeing other comments, etc.


Ben Finestone
212-849-7341 Office
917-846-3228 Mobile




                                                   4
21-12075-dsj      Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15                   Main Document
                                            Pg 8 of 121




From: Jared Borriello <jborriello@teamtogut.com>
Sent: Sunday, March 6, 2022 8:30 PM
To: Levinson, Sidney P. <slevinson@debevoise.com>
Cc: Benjamin Finestone <benjaminfinestone@quinnemanuel.com>; Asher Griffin
<ashergriffin@quinnemanuel.com>; Justin Griffin <justingriffin@quinnemanuel.com>; Eric Winston
<ericwinston@quinnemanuel.com>; Zachary Russell <zacharyrussell@quinnemanuel.com>; Emiliano
Delgado <emilianodelgado@quinnemanuel.com>; Scott Lucy <scottlucy@quinnemanuel.com>; Bryan
Kotliar <bkotliar@teamtogut.com>; Kyle Ortiz <kortiz@teamtogut.com>; Brian Shaughnessy
<bshaughnessy@teamtogut.com>
Subject: Re: JPA/Draft Stipulation & Agreed Order

                             [EXTERNAL EMAIL from jborriello@teamtogut.com]


Sid:

Please see attached.
________________________________
Jared C. Borriello
Togut, Segal & Segal LLP
One Penn Plaza | Suite 3335 | New York, NY 10119
jborriello@teamtogut.com

Direct Tel: (212) 201-6571
Mobile: (646) 512-2039
Fax: (212) 967-4258

www.togutlawfirm.com



On Mar 6, 2022, at 8:10 PM, Levinson, Sidney P. <slevinson@debevoise.com> wrote:

Jared - can you please send a blackline against the last version circulated? Thanks, Sid

Debevoise
& Plimpton
Sidney P. Levinson
Partner

slevinson@debevoise.com
+1 212 909 6913 (Tel)

www.debevoise.com




                                                    5
21-12075-dsj      Doc 175      Filed 03/18/22 Entered 03/18/22 18:04:15                Main Document
                                           Pg 9 of 121


This e-mail message is intended only for the use of the individual or entity to which it is addressed and
may contain information that is privileged, confidential and exempt from disclosure. If you are not the
intended recipient, please do not disseminate, distribute or copy this communication, by e-mail or
otherwise. Instead, please notify us immediately by return e-mail (including the original message in your
reply) and by telephone (you may call us collect in New York at 1-212-909-6000) and then delete and
discard all copies of the e-mail. Thank you.
The latest version of our Privacy Policy, which includes information about how we collect, use and
protect personal data, is at www.debevoise.com.




On Mar 6, 2022, at 5:44 PM, Jared Borriello <jborriello@teamtogut.com> wrote:



Dear Quinn team and Sid:

The draft stipulation and agreed order is attached for your review. We added recitals and made certain
non-substantive edits (e.g., defined terms and clean up) in an effort to formalize the agreed upon key
stipulation points. All of our edits were intended as neutral.

Please review and let us know if you have any edits our would like to discuss. This draft remains subject
to ongoing review and client approval. All rights reserved.



________________________________
Jared C. Borriello
Togut, Segal & Segal LLP
One Penn Plaza | Suite 3335 | New York, NY 10119
jborriello@teamtogut.com

Direct Tel: (212) 201-6571
Fax: (212) 967-4258

www.togutlawfirm.com
<Stipulation and Agreed Order (Togut Draft 3-6-22).docx>




                                                    6
21-12075-dsj     Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15                  Main Document
                                          Pg 10 of 121




               1007727038v4-Stipulation and Agreed Order.DOCX (66 KB)1




   1
       The attachment was electronically mailed on Monday, March 07, 2022, at 16:48, from Sidney P.
       Levinson to Jared Borriello.
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15              Main Document
                                              Pg 11 of 121



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                     Chapter 11

JPA NO. 111 CO., LTD. and                                  Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                           (Jointly Administered)

                             Debtors.1


JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                             Plaintiffs,
                                                           Adv. Pro. No. 22-01004 (DSJ)
v.

FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED,

                             Defendant.


FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED.,

                             Plaintiff,
                                                           Adv. Pro. No. 22-01006 (DSJ)
v.

JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                             Defendants.




1
     The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The Debtors’
     corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki, Chiyoda-Ku, Tokyo 100-
     0013.


03958-61590/13226370.1
21-12075-dsj             Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15        Main Document
                                               Pg 12 of 121



                                   STIPULATION AND AGREED ORDER

          This Stipulation and Agreed Order (“Stipulation & Order”) is entered into by and among:

(a) the above-captioned debtors and debtors in possession (the “Debtors”); (b) the undesigned JP

Lease Products & Services Co. Ltd. (“JPL”); (c) the undersigned JLPS Ireland Limited (“JLPS”);

(d) the undersigned JLPS Leasing Draco Limited f/k/a DAE Leasing (Ireland) 12 Limited

(“JLPS Draco”); (e) JLPS Leasing Uranus Limited f/k/a PAAL Uranus Company Limited

(“JLPS Uranus” and, together with JLPS Draco, the “Intermediate Lessors”); and (f) the

undersigned FitzWalter Capital Partners (Financial Trading) Limited (“FitzWalter”). Each of the

persons or entities identified in the foregoing clauses (a) through (f) shall be referred to herein

individually as a “Party” and, collectively, as the “Parties.”

                                                Recitals

          WHEREAS, the Debtors commenced their chapter 11 cases (the “Chapter 11 Cases”) on

December 17, 2021;

          WHEREAS, on December 31, 2021, the Debtors filed their Debtors’ Application for

Entry of Orders: (I)(A) Approving Bidding Procedures Relating to the Sale of Substantially All

of the Debtors’ Assets; (B) Establishing Stalking Horse Bidders and Bid Protections;

(C) Approving Procedures for the Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases; (D) Authorizing Enforcement Actions; (E) Scheduling an Auction and a

Sale Hearing; and (F) Approving the Form and Manner of Notice Thereof; and (II)(A)

Approving the Sale of the Purchased Assets Free and Clear of All Liens, Claims, Interests, and

Encumbrances; and (B) Granting Related Relief [Docket No. 21] (the “Sale Motion”);

          WHEREAS, on February 4, 2022, the Court entered the Bidding Procedures Order

[Docket No. 101, and corrected at Docket No. 102], which, among other things, scheduled a




03958-61590/13226370.1   2
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15     Main Document
                                              Pg 13 of 121



hearing to consider approval of the Debtors’ proposed sale(s) for March 14, 2022 at 11:00 a.m.

(ET) (the “Sale Hearing”);

          WHEREAS, on February 28, 2022, the Debtors filed their Motion of The Debtors For

Entry of An Order (I) Determining Secured Claims of Prepetition Credit Facilities or (II) In the

Alternative, Estimating Amount of Claims Asserted By FitzWalter Capital Partners (Financial

Trading) Limited And Its Affiliates [Docket No. 136] (the “Estimation Motion”). A hearing on

the Estimation Motion is scheduled concurrently with the Sale Hearing;

          WHEREAS, on January 21, 2022, FitzWalter filed claims against JPL, JLPS, the

Intermediate Lessors, and Heinrich Loechteken in the High Court of England and Wales,

Queen’s Bench Division, Media and Communications List under Claim No: QB-2022-000199

(the “London Litigation”), and has also undertaken certain other actions against JPL, JLPS, the

Intermediate Lessors, and Mr. Loechteken in Japan (the “Japanese Dispute”) and Ireland (the

“Irish Dispute”);

          WHEREAS, on February 14, 2022, the Debtors commenced Adversary Proceeding

No. 22-01004-djs (“Debtors’ Adversary Proceeding”) against FitzWalter, by filing their

Complaint for Declaratory Judgment and Injunctive Relief, Recovery of Damages and Related

Relief [Adv. Pro. No. 22-01004, Docket No. 1] (“Debtors’ Adversary Complaint”);

          WHEREAS, on February 15, 2022, the Debtors filed their Motion for Injunctive Relief

and Sanctions [Adv. Pro. No. 22-01004, Docket No. 3] (the “Motion for Injunctive Relief”); and

          WHEREAS, on February 17, 2022, FitzWalter commenced Adversary Proceeding

No. 22-01006-dsj (“FitzWalter’s Adversary Proceeding” and, together with the Debtors’

Adversary Proceeding, the “Adversary Proceedings”) against the Debtors, by filing its Complaint




03958-61590/13226370.1   3
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15          Main Document
                                              Pg 14 of 121



for Declaratory Judgment [Adv. Pro. No. 22-01006, Docket No. 1] (“FitzWalter’s Adversary

Complaint”, and together with the Debtors’ Adversary Complaint, the “Adversary Complaints”).

          NOW, THEREFORE, to facilitate the orderly adjudication of the Sale Motion and the

Estimation Motion, including certain discovery and evidentiary disputes among the parties, and

to maintain the status quo in the London Litigation, the Japanese Dispute, and the Irish Dispute

as set forth herein,

IT IS THEREFORE STIPULATED AND AGREED:

          1.        The Debtors agree to adjourn, sine die their Motion for Injunctive Relief. In

return for same, the Parties, Mr. Loechteken, and all of the Debtors’ other affiliates stipulate and

agree that they will take no further action to prosecute or defend any actions outside of the

Debtors’ Chapter 11 Cases against each other, or to commence any type of case or proceeding

outside of the Debtors’ Chapter 11 Cases from the date hereof to the following date

(the “Recommencement Date”): (a) the earlier of (i) fourteen (14) days after the entry of the

Court’s ruling on the Sale Motion or (ii) April 15, 2022; or (b) as applicable, the date set by

further order of this Court or as consensually extended in writing by the Parties, which

agreement shall include, but not be limited to, pausing the prosecution and defense of the claims

filed by FitzWalter in the London Litigation, the Japanese Dispute, and the Irish Dispute. The

Parties will work collaboratively to extend any pending deadlines in any of the ongoing disputes

so as not to prejudice the interests of any of the Parties because of this Stipulation, including by

FitzWalter, JPL, and JLPS signing and filing a Consent Order in the London Litigation in the

form expressed in Schedule 1 hereto (the “English Consent Order”), and, in conjunction

therewith, if the Recommencement Date has not occurred by April 22, 2022, then the signatories

to the English Consent Order agree to submit a revised consent order to the English court that




03958-61590/13226370.1   4
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15        Main Document
                                              Pg 15 of 121



reasonably reflects the further period through which the foregoing stay of proceedings will

remain in effect. Notwithstanding the foregoing, FitzWalter may continue to pursue its

application to the English court filed on March 1, 2022 including, if permission is granted, to

serve Mr. Loechteken, JLPS Leasing Draco Limited and/or JLPS Leasing Uranus Limited

outside of that court’s jurisdiction and/or via a substituted method of service; provided, however,

that if (a) Mr. Loechteken, JLPS Leasing Draco Limited and/or JLPS Leasing Uranus Limited is

served prior to the Recommencement Date and (b) the deadline for Mr. Loechteken, JLPS

Leasing Draco Limited and/or JLPS Leasing Uranus Limited to take an active step in the London

Litigation falls prior to the Recommencement Date, then prior to any such deadline FitzWalter

and Mr. Loechteken, JLPS Leasing Draco Limited and/or JLPS Leasing Uranus Limited (as the

case may be) will sign and file a Consent Order in the London Litigation in a form substantially

similar to that contained in Schedule 1 hereto, that provides (at the election of Mr. Loechteken,

JLPS Leasing Draco Limited, or JLPS Leasing Uranus Limited, as the case may be) either the

same extension and deadline for filing a challenge to jurisdiction and/or an equivalent extension

and deadline for filing a defence. FitzWalter expressly agrees and acknowledges that nothing in

this Stipulation & Order is intended to be or shall be treated as a submission by any person or

entity to the jurisdiction of the English court in the London Litigation and further that each of

JPL, JLPS, the Intermediate Lessors and Mr. Loechteken maintain and reserve any right to

challenge jurisdiction and apply after the Recommencement Date to set aside or dismiss any

claims and/or orders made in the London Litigation on any grounds that are or may be available

to them at law. This Stipulation & Order does not constitute (and FitzWalter will make no

attempt in the London Litigation to refer to or rely upon this Stipulation & Order) as a

submission to jurisdiction and/or a waiver of any right, claim, action or remedy by JPL, JLPS,




03958-61590/13226370.1   5
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15           Main Document
                                              Pg 16 of 121



the Intermediate Lessors or Mr. Loechteken, all of which rights, claims, actions and remedies are

fully reserved and preserved.

          2.        The deadline to file an answer or otherwise move with respect to the Adversary

Complaints shall be either (i) fourteen (14) days after the entry of the Court’s order resolving the

Sale Motion or (ii) the date set by further order of this Court or as consensually extended in

writing by the Parties.

          3.        Discovery in the Adversary Proceedings will be stayed until the earlier of (i) the

Court’s ruling on the Sale Motion or (ii) April 15, 2022 (or such later date as agreed in writing

by the Parties).

          4.        Except as set forth in Paragraph 5, for the purposes of the Sale Hearing, currently

scheduled for March 14, 2022, the Parties shall not present or seek the admission of evidence at

the Sale Hearing concerning the claims that FitzWalter has asserted in the London Litigation, the

Japanese Dispute, or the Irish Dispute (the “Unliquidated Claims”), except for the existence of

the Unliquidated Claims. For the avoidance of doubt, claims related to professional fees and

management time fees are not covered by this paragraph; provided, however, the facts that will

be considered by the Court with respect to the challenge to FitzWalter’s professional fees shall

be limited to (in addition to any other facts stipulated to by the Parties):

               i.   the Debtors filed for chapter 11 relief;

            ii.     the term sheet, stalking asset purchase agreement, and the terms thereof [Docket
                    No. 58], pursuant to which the Debtors have predicated their request for approval
                    to sell certain assets [Docket No. 21] and the fact that the Debtors have alleged
                    that all Secured Obligations (as provided for, or not, by the term sheet) will be
                    paid in full;

           iii.     the documents governing the Debtors’ Secured Obligations and the rights and
                    obligations related thereto including enforcement thereof; and




03958-61590/13226370.1   6
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15           Main Document
                                              Pg 17 of 121



            iv.     the commencement by FitzWalter of the London Litigation and the existence of
                    the Japanese Dispute and the Irish Dispute.

                    It is further agreed and acknowledged that FitzWalter is not seeking allowance of

their professional fees at the Sale Hearing; rather, FitzWalter is responding to certain arguments

advanced by the Estimation Motion and, thus, subject to the foregoing challenges, FitzWalter is

not subject to any burden of proof with respect to the allowance of such expenses at the Sale

Hearing and reserves its rights to seek allowance of such expenses in these Chapter 11 Cases.

                    FitzWalter and the Intermediate Lessors reserve their rights to object to the

admissibility of any facts, other than as provided for herein, at the Sale Hearing.

          5.        For the purposes of the Sale Hearing and the hearing on the Estimation Motion,

both of which are scheduled for March 14, 2022, the issues presented to the Court concerning the

Unliquidated Claims will be limited to whether the Unliquidated Claims constitute claims, as

defined in the Bankruptcy Code, or Secured Obligations as that term is defined in the Proceeds

Agreements, and whether the Unliquidated Claims, as alleged, are sufficient as a matter of law

under the Transaction Documents and the Bankruptcy Code; provided that if further discovery is

deemed required to address any such matters, then such matters shall be determined in

conjunction with the Continued Hearing (as defined below).

          6.        Despite exchanging discovery requests, because of the limited scope of the issues

being presented to the Court at the Sale Hearing concerning the Unliquidated Claims, the Parties

need not produce documents related to the factual merits of the Unliquidated Claims in advance

of the Sale Hearing. Nothing in this paragraph shall affect discovery for matters not related to

the Unliquidated Claims, subject to the Parties’ objections.

          7.        Despite exchanging deposition notices, because of the limited scope of the issues

being presented to the Court at the Sale Hearing concerning the Unliquidated Claims, the Parties



03958-61590/13226370.1   7
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15            Main Document
                                              Pg 18 of 121



need not present witnesses for deposition related to the merits of the Unliquidated Claims in

advance of the Sale Hearing.

          8.        To the extent the Court determines, by bench ruling or written order, that further

factual or legal determination with respect to any matter in respect of the Unliquidated Claims

outside the limitations of Paragraph 5 is necessary, as FitzWalter asserts, the Parties stipulate and

agree as follows:

               i.   The Sale Hearing will be continued to and start on a date set by this Court after
                    such ruling or order, and will continue, as necessary, from day to day in each case
                    as set by the Court and as may be extended by the Court as the Court’s schedule
                    permits, so the Court may hold an evidentiary hearing to determine (or estimate)
                    the amounts (if any) of the Unliquidated Claims (the “Continued Hearing”); in
                    this regard, (a) the Debtors believe that the date of the Continued Hearing should
                    be set no later than ten (10) days after the Sale Hearing, especially as the Stalking
                    Horse Bidder has not consented to the postponement of the conclusion of the Sale
                    adjudication (and “time is of the essence” is both a condition precedent in their
                    stalking horse bid and in the Bidding Procedures); and (b) FitzWalter believes that
                    such Continued Hearing should be held, consistent with general considerations
                    and interests of due process, no earlier than April 13, 2022, especially given
                    FitzWalter’s view of the discovery needed for such Continued Hearing and the
                    fact that the other Parties have not provided such discovery;

            ii.     The Parties shall produce documents responsive to the outstanding discovery
                    requests and any additional materials requested by the Court related to matters to
                    be addressed at the Continued Hearing no later than five (5) days after such ruling
                    or order;

           iii.     The depositions of fact and expert witnesses shall be completed not less than five
                    (5) days before the Continued Hearing; and

            iv.     The Parties shall file and serve their supplemental briefs and any accompanying
                    declarations four (4) days before the Continued Hearing. The same deadline shall
                    apply to any supporting party’s or objecting party’s joinders or statements in
                    support or opposition to the Proposed Sale. No replies shall be permitted.

          9.        The deadline for FitzWalter to object to Debtors’ Estimation Motion shall be

March 10, 2022, at 12:00 p.m. (ET).

          10.       The undersigned hereby represent and warrant that, to the best of their good faith

knowledge and belief, they have full authority to execute this Stipulation & Order on behalf of


03958-61590/13226370.1   8
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15          Main Document
                                              Pg 19 of 121



the respective Parties and that the respective Parties have full knowledge of and have consented

to this Stipulation & Order.

          11.       The Parties shall not alter or modify this Stipulation & Order, except through an

agreement of all Parties (which may be through email between counsel) or by order of the Court.

          12.       This Stipulation & Order may be executed and delivered (including by email or

facsimile) in one or more counterparts, and by the different Parties hereto in separate

counterparts, each of which when executed will be deemed to be an original, but all of which

taken together will constitute one and the same agreement.



Dated:


                                                  HONORABLE DAVID S. JONES
                                                  UNITED STATES BANKRUPTCY JUDGE


IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD


Dated: New York, New York
       March __, 2022


                                          TOGUT, SEGAL & SEGAL LLP

                                          Frank A. Oswald
                                          Kyle J. Ortiz
                                          Brian F. Shaughnessy
                                          Jared C. Borriello
                                          One Penn Plaza, Suite 3335
                                          New York, New York 10119
                                          Telephone: (212) 594-5000
                                          Email: frankoswald@teamtogut.com
                                                  kortiz@teamtogut.com
                                                  bshaughnessy@teamtogut.com
                                                  jborriello@teamtogut.com




03958-61590/13226370.1   9
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15      Main Document
                                              Pg 20 of 121



                                         Counsel to the Debtors and Debtors in Possession




03958-61590/13226370.1   10
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                              Pg 21 of 121



Dated: New York, New York
       March __, 2022

                                         VEDDER PRICE P.C.

                                         Michael J. Edelman
                                         Jeremiah Vandermark
                                         1633 Broadway, 31st Floor
                                         New York, NY 10019
                                         Telephone: (212) 407-7700
                                         Email: MJEdelman@VedderPrice.com
                                                 JVandermark@VedderPrice.com

                                         Counsel to JP Lease Products & Services Co., Ltd., and
                                         JLPS Ireland Limited




03958-61590/13226370.1   11
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                              Pg 22 of 121



Dated: New York, New York
       March __, 2022

                                         DEBEVOISE & PLIMPTON LLP

                                         Sidney P. Levinson
                                         Isabella M. Cusano
                                         919 Third Avenue
                                         New York, NY 10022
                                         Telephone: (212) 909-6000
                                         Facsimile: (212) 9090-6836
                                         Email: slevinson@debevoise.com
                                                  imcusano@debevoise.com

                                         Counsel to JLPS Leasing Uranus Limited
                                         and JLPS Leasing Draco Limited




03958-61590/13226370.1   12
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15      Main Document
                                              Pg 23 of 121



Dated: March __, 2022

                                         QUINN EMANUEL URQUHART & SULLIVAN, LLP

                                         Benjamin I. Finestone
                                         Zachary R. Russell
                                         51 Madison Avenue, Fl. 22
                                         New York, NY 10010
                                         Telephone: (212) 849-7000
                                         Facsimile: (212) 849-7100
                                         Email: benjaminfinestone@quinnemanuel.com
                                                 zacharyrussell@quinnemanuel.com

                                         Justin C. Griffin (pro hac vice)
                                         Eric Winston (pro hac vice)
                                         865 South Figueroa Street, Fl. 10
                                         Los Angeles, CA 90017
                                         Telephone: (213) 443-3000
                                         Email: justingriffin@quinnemnauel.com
                                                  ericwinston@quinnemanuel.com

                                         Asher B. Griffin (pro hac vice)
                                         300 West 6th Street, Suite 2010
                                         Austin, TX 78710
                                         Telephone: (737) 667-6103
                                         Email: ashergriffin@quinnemnauel.com

                                         Counsel to FitzWalter Capital
                                         Partners (Financial Trading) Limited




03958-61590/13226370.1   13
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15    Main Document
                                              Pg 24 of 121



                                              SCHEDULE 1

IN THE HIGH COURT OF JUSTICE Claim No. QB-2022-000199
QUEEN’S BENCH DIVISION
MEDIA AND COMMUNICATIONS LIST

Before:
Dated:

BETWEEN

         FITZWALTER CAPITAL PARTNERS (FINANCIAL TRADING) LIMITED
                                                              Claimant
                                  And

                            (1) JP LEASE PRODUCTS & SERVICES LIMITED
                                      (2) JLPS IRELAND LIMITED
                                   (3) JLPS LEASING DRACO LIMITED
                                   (4) JLPS LEASING URANUS LIMITED
                                      (5) HEINRICH LOECHTEKEN
                                                                                    Defendants


                                            [Draft] ORDER




UPON the Court having power to extend the time for compliance with any rule by CPR
3.1(2)(a),

AND UPON the Claimant and the First and Second Defendants having agreed an extension to
the date by which the First and Second Defendants must file an application to challenge the
Court’s jurisdiction under CPR 11,

BY CONSENT IT IS ORDERED THAT:

1.     The date by which the First and Second Defendants must file an application to challenge
       the Court’s jurisdiction under CPR 11 is extended to 4pm GMT on 22 April 2022.

2.     The First and Second Defendants shall not be deemed to have submitted to the jurisdiction
       of the Court by agreeing to the terms covered by this order.

3.     There shall be no order as to costs.


03958-61590/13226370.1
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15          Main Document
                                              Pg 25 of 121



Dated this     day of                  2022
We consent to an order being made in the above terms

Signed:                                         Signed:

……………………………                                     ………………………………
Quinn Emanuel Urquhart & Sullivan LLP           Alius Law
For and on behalf of the Claimant               For and on behalf of the First and Second Defendants
                                                (without prejudice to jurisdiction)




03958-61590/13226370.1   2
21-12075-dsj     Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15                  Main Document
                                          Pg 26 of 121




                                        Redline.pdf (78 KB)2




   2
       The attachment was electronically mailed on Monday, March 07, 2022, at 16:48, from Sidney P.
       Levinson to Jared Borriello.
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15              Main Document
                                              Pg 27 of 121



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                     Chapter 11

JPA NO. 111 CO., LTD. and                                  Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                           (Jointly Administered)

                             Debtors.1


JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                             Plaintiffs,
                                                           Adv. Pro. No. 22-01004 (DSJ)
v.

FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED,

                             Defendant.


FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED.,

                             Plaintiff,
                                                           Adv. Pro. No. 22-01006 (DSJ)
v.

JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                             Defendants.




1
     The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The Debtors’
     corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki, Chiyoda-Ku, Tokyo 100-
     0013.


03958-61590/13226370.1
21-12075-dsj             Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15        Main Document
                                               Pg 28 of 121



                                   STIPULATION AND AGREED ORDER

          This Stipulation and Agreed Order (“Stipulation & Order”) is entered into by and among:

(a) the above-captioned debtors and debtors in possession (the “Debtors”); (b) the undesigned JP

Lease Products & Services Co. Ltd. (“JPL”); (c) the undersigned JLPS Ireland Limited (“JLPS”);

(d) the undersigned JLPS Leasing Draco Limited f/k/a DAE Leasing (Ireland) 12 Limited

(“JLPS Draco”); (e) JLPS Leasing Uranus Limited f/k/a PAAL Uranus Company Limited

(“JLPS Uranus” and, together with JLPS Draco, the “Intermediate Lessors”); and (f) the

undersigned FitzWalter Capital Partners (Financial Trading) Limited (“FitzWalter”). Each of the

persons or entities identified in the foregoing clauses (a) through (f) shall be referred to herein

individually as a “Party” and, collectively, as the “Parties.”

                                                Recitals

          WHEREAS, the Debtors commenced their chapter 11 cases (the “Chapter 11 Cases”) on

December 17, 2021;

          WHEREAS, on December 31, 2021, the Debtors filed their Debtors’ Application for

Entry of Orders: (I)(A) Approving Bidding Procedures Relating to the Sale of Substantially All

of the Debtors’ Assets; (B) Establishing Stalking Horse Bidders and Bid Protections;

(C) Approving Procedures for the Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases; (D) Authorizing Enforcement Actions; (E) Scheduling an Auction and a

Sale Hearing; and (F) Approving the Form and Manner of Notice Thereof; and (II)(A)

Approving the Sale of the Purchased Assets Free and Clear of All Liens, Claims, Interests, and

Encumbrances; and (B) Granting Related Relief [Docket No. 21] (the “Sale Motion”);

          WHEREAS, on February 4, 2022, the Court entered the Bidding Procedures Order

[Docket No. 101, and corrected at Docket No. 102], which, among other things, scheduled a




03958-61590/13226370.1   2
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15     Main Document
                                              Pg 29 of 121



hearing to consider approval of the Debtors’ proposed sale(s) for March 14, 2022 at 11:00 a.m.

(ET) (the “Sale Hearing”);

          WHEREAS, on February 28, 2022, the Debtors filed their Motion of The Debtors For

Entry of An Order (I) Determining Secured Claims of Prepetition Credit Facilities or (II) In the

Alternative, Estimating Amount of Claims Asserted By FitzWalter Capital Partners (Financial

Trading) Limited And Its Affiliates [Docket No. 136] (the “Estimation Motion”). A hearing on

the Estimation Motion is scheduled concurrently with the Sale Hearing;

          WHEREAS, on January 21, 2022, FitzWalter filed claims against JPL, JLPS, the

Intermediate Lessors, and Heinrich Loechteken in the High Court of England and Wales,

Queen’s Bench Division, Media and Communications List under Claim No: QB-2022-000199

(the “London Litigation”), and has also undertaken certain other actions against JPL, JLPS, the

Intermediate Lessors, and Mr. Loechteken in Japan (the “Japanese Dispute”) and Ireland (the

“Irish Dispute”);

          WHEREAS, on February 14, 2022, the Debtors commenced Adversary Proceeding

No. 22-01004-djs (“Debtors’ Adversary Proceeding”) against FitzWalter, by filing their

Complaint for Declaratory Judgment and Injunctive Relief, Recovery of Damages and Related

Relief [Adv. Pro. No. 22-01004, Docket No. 1] (“Debtors’ Adversary Complaint”);

          WHEREAS, on February 15, 2022, the Debtors filed their Motion for Injunctive Relief

and Sanctions [Adv. Pro. No. 22-01004, Docket No. 3] (the “Motion for Injunctive Relief”); and

          WHEREAS, on February 17, 2022, FitzWalter commenced Adversary Proceeding

No. 22-01006-dsj (“FitzWalter’s Adversary Proceeding” and, together with the Debtors’

Adversary Proceeding, the “Adversary Proceedings”) against the Debtors, by filing its Complaint




03958-61590/13226370.1   3
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15          Main Document
                                              Pg 30 of 121



for Declaratory Judgment [Adv. Pro. No. 22-01006, Docket No. 1] (“FitzWalter’s Adversary

Complaint”, and together with the Debtors’ Adversary Complaint, the “Adversary Complaints”).

          NOW, THEREFORE, to facilitate the orderly adjudication of the Sale Motion and the

Estimation Motion, including certain discovery and evidentiary disputes among the parties, and

to maintain the status quo in the London Litigation, the Japanese Dispute, and the Irish Dispute

as set forth herein,

IT IS THEREFORE STIPULATED AND AGREED:

          1.        The Debtors agree to adjourn, sine die their Motion for Injunctive Relief. In

return for same, the Parties, Mr. Loechteken, and all of the Debtors’ other affiliates stipulate and

agree that they will take no further action to prosecute or defend any actions outside of the

Debtors’ Chapter 11 Cases against each other, or to commence any type of case or proceeding

outside of the Debtors’ Chapter 11 Cases from the date hereof to the following date

(the “Recommencement Date”): (a) the earlier of (i) fourteen (14) days after the entry of the

Court’s ruling on the Sale Motion or (ii) April 15, 2022; or (b) as applicable, the date set by

further order of this Court or as consensually extended in writing by the Parties, which

agreement shall include, but not be limited to, pausing the prosecution and defense of the claims

filed by FitzWalter in the London Litigation, the Japanese Dispute, and the Irish Dispute. The

Parties will work collaboratively to extend any pending deadlines in any of the ongoing disputes

so as not to prejudice the interests of any of the Parties because of this Stipulation, including by

FitzWalter, JPL, and JLPS signing and filing a Consent Order in the London Litigation in the

form expressed in Schedule 1 hereto (the “English Consent Order”), and, in conjunction

therewith, if the Recommencement Date has not occurred by April 22, 2022, then the signatories

to the English Consent Order agree to submit a revised consent order to the English court that




03958-61590/13226370.1   4
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                              Pg 31 of 121



reasonably reflects the further period through which the foregoing stay of proceedings will

remain in effect. Notwithstanding the foregoing, FitzWalter may continue to pursue its

application to the English court filed on March 1, 2022 including, if permission is granted, to

serve Mr. Loechteken, JLPS Leasing Draco Limited and/or JLPS Leasing Uranus Limited

outside of that court’s jurisdiction and/or via a substituted method of service; provided, however,

that if both (a) Mr. Loechteken, JLPS Leasing Draco Limited and/or JLPS Leasing Uranus

Limited is served prior to the Recommencement Date and (b) the deadline for Mr. Loechteken,

JLPS Leasing Draco Limited and/or JLPS Leasing Uranus Limited to take an active step in the

London Litigation falls prior to the Recommencement Date, then prior to any such deadline

FitzWalter and Mr. Loechteken, JLPS Leasing Draco Limited and/or JLPS Leasing Uranus

Limited (as the case may be) will sign and file a Consent Order in the London Litigation in a

form substantially similar to that contained in Schedule 1 hereto, withthat provides (at the

election of Mr. Loechteken, JLPS Leasing Draco Limited, or JLPS Leasing Uranus Limited, as

the case may be) either the same extension and deadline for filing a challenge to jurisdiction

and/or an equivalent extension and deadline for filing a defence. FitzWalter expressly agrees

and acknowledges that nothing in this Stipulation & Order is intended to be or shall be treated as

a submission by any person or entity to the jurisdiction of the English court in the London

Litigation and further that each of JPL, JLPS, the Intermediate Lessors and Mr. Loechteken

maintain and reserve any right to challenge jurisdiction and apply after the Recommencement

Date to set aside or dismiss any claims and/or orders made in the London Litigation on any

grounds that are or may be available to them at law. This Stipulation & Order does not

constitute (and FitzWalter will make no attempt in the London Litigation to refer to or rely upon

this Stipulation & Order) as a submission to jurisdiction and/or a waiver of any right, claim,




03958-61590/13226370.1   5
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15           Main Document
                                              Pg 32 of 121



action or remedy by JPL, JLPS, the Intermediate Lessors or Mr. Loechteken, all of which rights,

claims, actions and remedies are fully reserved and preserved.

          2.        The deadline to file an answer or otherwise move with respect to the Adversary

Complaints shall be either (i) fourteen (14) days after the entry of the Court’s order resolving the

Sale Motion or (ii) the date set by further order of this Court or as consensually extended in

writing by the Parties.

          3.        Discovery in the Adversary Proceedings will be stayed until the earlier of (i) the

Court’s ruling on the Sale Motion or (ii) April 15, 2022 (or such later date as agreed in writing

by the Parties).

          4.        Except as set forth in Paragraph 5, for the purposes of the Sale Hearing, currently

scheduled for March 14, 2022, the Parties shall not present or seek the admission of evidence at

the Sale Hearing concerning the claims that FitzWalter has asserted in the London Litigation, the

Japanese Dispute, or the Irish Dispute (the “Unliquidated Claims”), except for the existence of

the Unliquidated Claims. For the avoidance of doubt, claims related to professional fees and

management time fees are not covered by this paragraph; provided, however, the facts that will

be considered by the Court with respect to the challenge to FitzWalter’s professional fees shall

be limited to (in addition to any other facts stipulated to by the Parties):

               i.   the Debtors filed for chapter 11 relief;

            ii.     the term sheet, stalking asset purchase agreement, and the terms thereof [Docket
                    No. 58], pursuant to which the Debtors have predicated their request for approval
                    to sell certain assets [Docket No. 21] and the fact that the Debtors have alleged
                    that all Secured Obligations (as provided for, or not, by the term sheet) will be
                    paid in full;

           iii.     the documents governing the Debtors’ Secured Obligations and the rights and
                    obligations related thereto including enforcement thereof; and




03958-61590/13226370.1   6
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15           Main Document
                                              Pg 33 of 121



            iv.     the commencement by FitzWalter of the London Litigation and the existence of
                    the Japanese Dispute and the Irish Dispute.

                    It is further agreed and acknowledged that FitzWalter is not seeking allowance of

their professional fees at the Sale Hearing; rather, FitzWalter is responding to certain arguments

advanced by the Estimation Motion and, thus, subject to the foregoing challenges, FitzWalter is

not subject to any burden of proof with respect to the allowance of such expenses at the Sale

Hearing and reserves its rights to seek allowance of such expenses in these Chapter 11 Cases.

                    FitzWalter reserves itsand the Intermediate Lessors reserve their rights to object

to the admissibility of any facts, other than as provided for herein, at the Sale Hearing.

          5.        For the purposes of the Sale Hearing and the hearing on the Estimation Motion,

both of which are scheduled for March 14, 2022, the issues presented to the Court concerning the

Unliquidated Claims will be limited to whether the Unliquidated Claims constitute claims, as

defined in the Bankruptcy Code, or Secured Obligations as that term is defined in the Proceeds

Agreements, and whether the Unliquidated Claims, as alleged, are sufficient as a matter of law

under the Transaction Documents and the Bankruptcy Code; provided that if further discovery is

deemed required to address any such matters, then such matters shall be determined in

conjunction with the Continued Hearing (as defined below).

          6.        Despite exchanging discovery requests, because of the limited scope of the issues

being presented to the Court at the Sale Hearing concerning the Unliquidated Claims, the Parties

need not produce documents related to the factual merits of the Unliquidated Claims in advance

of the Sale Hearing. Nothing in this paragraph shall affect discovery for matters not related to

the Unliquidated Claims, subject to the Parties’ objections.

          7.        Despite exchanging deposition notices, because of the limited scope of the issues

being presented to the Court at the Sale Hearing concerning the Unliquidated Claims, the Parties



03958-61590/13226370.1   7
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15            Main Document
                                              Pg 34 of 121



need not present witnesses for deposition related to the merits of the Unliquidated Claims in

advance of the Sale Hearing.

          8.        To the extent the Court determines, by bench ruling or written order, that further

factual or legal determination with respect to any matter in respect of the Unliquidated Claims

outside the limitations of Paragraph 5 is necessary, as FitzWalter asserts, the Parties stipulate and

agree as follows:

               i.   The Sale Hearing will be continued to and start on a date set by this Court after
                    such ruling or order, and will continue, as necessary, from day to day in each case
                    as set by the Court and as may be extended by the Court as the Court’s schedule
                    permits, so the Court may hold an evidentiary hearing to determine (or estimate)
                    the amounts (if any) of the Unliquidated Claims (the “Continued Hearing”); in
                    this regard, (a) the Debtors believe that the date of the Continued Hearing should
                    be set no later than ten (10) days after the Sale Hearing, especially as the Stalking
                    Horse Bidder has not consented to the postponement of the conclusion of the Sale
                    adjudication (and “time is of the essence” is both a condition precedent in their
                    stalking horse bid and in the Bidding Procedures); and (b) FitzWalter believes that
                    such Continued Hearing should be held, consistent with general considerations
                    and interests of due process, no earlier than April 13, 2022, especially given
                    FitzWalter’s view of the discovery needed for such Continued Hearing and the
                    fact that the other Parties have not provided such discovery;

            ii.     The Parties shall produce documents responsive to the outstanding discovery
                    requests and any additional materials requested by the Court related to matters to
                    be addressed at the Continued Hearing no later than five (5) days after such ruling
                    or order;

           iii.     The depositions of fact and expert witnesses shall be completed not less than five
                    (5) days before the Continued Hearing; and

            iv.     The Parties shall file and serve their supplemental briefs and any accompanying
                    declarations four (4) days before the Continued Hearing. The same deadline shall
                    apply to any supporting party’s or objecting party’s joinders or statements in
                    support or opposition to the Proposed Sale. No replies shall be permitted.

          9.        The deadline for FitzWalter to object to Debtors’ Estimation Motion shall be

March 10, 2022, at 12:00 p.m. (ET).

          10.       The undersigned hereby represent and warrant that, to the best of their good faith

knowledge and belief, they have full authority to execute this Stipulation & Order on behalf of


03958-61590/13226370.1   8
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15          Main Document
                                              Pg 35 of 121



the respective Parties and that the respective Parties have full knowledge of and have consented

to this Stipulation & Order.

          11.       The Parties shall not alter or modify this Stipulation & Order, except through an

agreement of all Parties (which may be through email between counsel) or by order of the Court.

          12.       This Stipulation & Order may be executed and delivered (including by email or

facsimile) in one or more counterparts, and by the different Parties hereto in separate

counterparts, each of which when executed will be deemed to be an original, but all of which

taken together will constitute one and the same agreement.



Dated:


                                                  HONORABLE DAVID S. JONES
                                                  UNITED STATES BANKRUPTCY JUDGE


IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD


Dated: New York, New York
       March __, 2022


                                          TOGUT, SEGAL & SEGAL LLP

                                          Frank A. Oswald
                                          Kyle J. Ortiz
                                          Brian F. Shaughnessy
                                          Jared C. Borriello
                                          One Penn Plaza, Suite 3335
                                          New York, New York 10119
                                          Telephone: (212) 594-5000
                                          Email: frankoswald@teamtogut.com
                                                  kortiz@teamtogut.com
                                                  bshaughnessy@teamtogut.com
                                                  jborriello@teamtogut.com




03958-61590/13226370.1   9
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15      Main Document
                                              Pg 36 of 121



                                         Counsel to the Debtors and Debtors in Possession




03958-61590/13226370.1   10
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                              Pg 37 of 121




Dated: New York, New York
       March __, 2022

                                         VEDDER PRICE P.C.

                                         Michael J. Edelman
                                         Jeremiah Vandermark
                                         1633 Broadway, 31st Floor
                                         New York, NY 10019
                                         Telephone: (212) 407-7700
                                         Email: MJEdelman@VedderPrice.com
                                                 JVandermark@VedderPrice.com

                                         Counsel to JP Lease Products & Services Co., Ltd., and
                                         JLPS Ireland Limited




03958-61590/13226370.1   11
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                              Pg 38 of 121




Dated: New York, New York
       March __, 2022

                                         DEBEVOISE & PLIMPTON LLP

                                         Sidney P. Levinson
                                         Isabella M. Cusano
                                         919 Third Avenue
                                         New York, NY 10022
                                         Telephone: (212) 909-6000
                                         Facsimile: (212) 9090-6836
                                         Email: slevinson@debevoise.com
                                                  imcusano@debevoise.com

                                         Counsel to JLPS Leasing Uranus Limited
                                         and JLPS Leasing Draco Limited




03958-61590/13226370.1   12
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15      Main Document
                                              Pg 39 of 121




Dated: March __, 2022

                                         QUINN EMANUEL URQUHART & SULLIVAN, LLP

                                         Benjamin I. Finestone
                                         Zachary R. Russell
                                         51 Madison Avenue, Fl. 22
                                         New York, NY 10010
                                         Telephone: (212) 849-7000
                                         Facsimile: (212) 849-7100
                                         Email: benjaminfinestone@quinnemanuel.com
                                                 zacharyrussell@quinnemanuel.com

                                         Justin C. Griffin (pro hac vice)
                                         Eric Winston (pro hac vice)
                                         865 South Figueroa Street, Fl. 10
                                         Los Angeles, CA 90017
                                         Telephone: (213) 443-3000
                                         Email: justingriffin@quinnemnauel.com
                                                 ericwinston@quinnemanuel.com

                                         Asher B. Griffin (pro hac vice)
                                         300 West 6th Street, Suite 2010
                                         Austin, TX 78710
                                         Telephone: (737) 667-6103
                                         Email: ashergriffin@quinnemnauel.com

                                         Counsel to FitzWalter Capital
                                         Partners (Financial Trading) Limited




03958-61590/13226370.1   13
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15    Main Document
                                              Pg 40 of 121



                                              SCHEDULE 1

IN THE HIGH COURT OF JUSTICE Claim No. QB-2022-000199
QUEEN’S BENCH DIVISION
MEDIA AND COMMUNICATIONS LIST

Before:
Dated:

BETWEEN

         FITZWALTER CAPITAL PARTNERS (FINANCIAL TRADING) LIMITED
                                                              Claimant
                                  And

                            (1) JP LEASE PRODUCTS & SERVICES LIMITED
                                      (2) JLPS IRELAND LIMITED
                                   (3) JLPS LEASING DRACO LIMITED
                                   (4) JLPS LEASING URANUS LIMITED
                                      (5) HEINRICH LOECHTEKEN
                                                                                    Defendants


                                            [Draft] ORDER




UPON the Court having power to extend the time for compliance with any rule by CPR
3.1(2)(a),

AND UPON the Claimant and the First and Second Defendants having agreed an extension to
the date by which the First and Second Defendants must file an application to challenge the
Court’s jurisdiction under CPR 11,

BY CONSENT IT IS ORDERED THAT:

1.     The date by which the First and Second Defendants must file an application to challenge
       the Court’s jurisdiction under CPR 11 is extended to 4pm GMT on 22 April 2022.

2.     The First and Second Defendants shall not be deemed to have submitted to the jurisdiction
       of the Court by agreeing to the terms covered by this order.

3.     There shall be no order as to costs.


03958-61590/13226370.1
21-12075-dsj             Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15          Main Document
                                              Pg 41 of 121



Dated this     day of                  2022
We consent to an order being made in the above terms

Signed:                                         Signed:

……………………………                                     ………………………………
Quinn Emanuel Urquhart & Sullivan LLP           Alius Law
For and on behalf of the Claimant               For and on behalf of the First and Second Defendants
                                                (without prejudice to jurisdiction)




03958-61590/13226370.1   2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 42 of 121




                                     Exhibit 2
21-12075-dsj     Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15           Main Document
                                        Pg 43 of 121


34567189 1 1 911
719!"1#9$1%%"1&'&&1%%()*1+#1
,571-./0/"11/!1210./0/ .01
3471 /9/1/0/1/9/5/0/6//9/718 /199/1
 /$9/6//9/71+0$ 1:55/190$ 55/6//9/7180/1:55/1
0/55/6//9/71;1</0/1 =/0/6//9/71>9$9!1?001
@9$9!006//9/71;9/1A 919/ 96//9/7111
-!10!6//9/71 !9/1B91C9971B!1D@1
C@971 9/11$9$/00!10$9$/00!9711=9/"129C1
E0=9/ .0719 "191$59  .071F09/"180991
09/ .0712919C 1E99C 6//9/1
GHI471?(182+JA9511E9/1K1+ 1D 1
1
-L011$01/1 9!1
MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM1
NO4PQ3RQS544TUU51
,5VGWQVOUQXQVOUQYYZ1
D/12//129@91[111\\\)1[1] =1^C"1]^1%'%%_1
 91
1
A 1̀ (1a&%&b1&'%cd)e%1
 9f(1a&%&b1_dec*&)g11
===9=51
1
D/1#91%'"1&'&&"191%'('e1+#"1-./0/"11/!1210./0/ .01= (1
11
`$9101 19/ "1=$1$1/5151$19 /91/59/1E. 1!1h//1!0 9!"1= 1
  fE1111/191E0/11 0E/ 1=$1 0E11$1EE0 1h//1$9/01 9!1111
11
ijklmnopqormsjltul1
                  [1vwxyz{x1[1|{}{~{22v yz2v1[1{~zz{}{~{1[1222[1
{}{~{1
11
345671 /9/1/0/1/9/5/0/6//9/11
71̀$09!"1#9$1%'"1&'&&1%'('\1+#1
,57189 1 1 9718 /199/1 /$9/6//9/1
3471-./0/"11/!1210./0/ .071+0$ 1:55/190$ 55/6//9/71
80/1:55/10/55/6//9/71;1</0/1 =/0/6//9/71
>9$9!1?001@9$9!006//9/71;9/1A 91
9/ 96//9/7111-!10!6//9/71 !9/1B91
C9971B!1D@1C@971 9/11$9$/00!1
0$9$/00!9711=9/"129C1E0=9/ .0719 "191
$59  .071F09/"18099109/ .0712919C 1
                                                 0
1                                               
2
21-12075-dsj   Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15     Main Document
                                     Pg 44 of 121


E99C 6//9/1
GHI471?;(182+JA9511E9/1K1+ 1D 1
11
81$/C1$1090101A .01/0 /11901/151 01 1B1E0011̀119"1=$1
   0E1191. /9!19/10. !10001 .9/151$1\J%*1$9/"1= 19 191E /1/ 1
91!09@ 19  /11
11
00
¡¢£¤¡0¥¦¦§0
¢£¡¨¤0©ª«1
11
34567189 1 1 911
71̀$09!"1#9$1%'"1&'&&1%'(''1+#1
,5718 /199/1 /$9/6//9/1
3471-./0/"11/!1210./0/ .071+0$ 1:55/190$ 55/6//9/71
    /9/1/0/1/9/5/0/6//9/7180/1:55/1
0/55/6//9/71;1</0/1 =/0/6//9/71>9$9!1?001
@9$9!006//9/71;9/1A 919/ 96//9/7111
-!10!6//9/71 !9/1B91C9971B!1D@1
C@971 9/11$9$/00!10$9$/00!9711=9/"129C1
E0=9/ .0719 "191$59  .071F09/"180991
09/ .0712919C 1E99C 6//9/1
GHI471?(182+JA9511E9/1K1+ 1D 1
11
                            ¬­®,­¯°±YQ­²±³YQ́456QIH544TUU5µO65VGR456¶0
21
801$ 191 .0 10E9/1$9L01/1119 ·11                                1
MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM1
89 1F1 1
`"1191K1191--21
D/12//129@91[111\\\)1[1] =1^C"1]^1%'%%_1
 91
1
A 1̀ (1a&%&b1&'%cd)e%1
#(11ad*db1)%&c&'\_1
  9f(1a&%&b1_dec*&)g11
1
===9=51
11
D/1#91_"1&'&&"191%%()e1+#"18 /199/1 /$9/6//9/1= (1
11
1"1
11
`$9/C0151!191̀$19151=901 . 11B/09/11 .01- 1901!1/0L1
E0019/1/1&%189/9!1&'&&"19/1  10 . 1/1&)189/9!1&'&&181$901$ 5 1 /10 . 1
1                                         ¸
2
21-12075-dsj    Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15         Main Document
                                      Pg 45 of 121


/19 9/1=$1F2?1d%%19/1$1E.0/0151$18/  91-0011!1+00/ /019/1
8/  91-0019/18/  91-00129 /12001+/1- 01
11
D/1$01900"1!1/019 1E9011$1//1E /01a./151$!1$9.1/15 1
9C/=  /01510 .b"1=$$1=1//199/01$1/19 9/1=$1!0 9!L01F1
D 151$!11/10/1$1/0/1 19/19 119109!1< 19 1$9EE!11/ 19/91$91
09!01$91!1/0L19  /11$1/0/1 101=$1E 11$1E0/19011
0/11.910 .151$191511E99015191
11
B/1 9 0"1
8 /11
11
345671-./0/"11/!1210./0/ .011
71'_1#9$1&'&&1*(&e12#1
,571¹89 1 ¹1 971+0$ 1:55/190$ 55/6//9/1
3471 /9/1/0/1/9/5/0/6//9/7180/1:55/1
0/55/6//9/71;1</0/1 =/0/6//9/71>9$9!1?001
@9$9!006//9/71;9/1A 919/ 96//9/7111
-!10!6//9/71 !9/1B91C9971B!1D@1
C@971 9/11$9$/00!10$9$/00!9711=9/"129C1
E0=9/ .0719 "191$59  .071F09/"180991
09/ .0712919C 1E99C 6//9/718 /199/1
 /$9/6//9/1
GHI471?;(182+JA9511E9/1K1+ 1D 1
11
                               ¬­®,­¯°±YQ­²±³YQ́456QºU»Tº5µPH»5TºR456¶1
21
89 19/1+0$ 1c111E 0E."1= 1/L10 19/!1 90/1511/01=$1$9.1/1!1 /11
0 . 110/1$1/0/1 109!/1$1;/0$1E /"119/11/1$1/E1//1$1
/0/1 1E/1 ./10 ."1/00/1=$1$1$9/01= 1EE0 11a81919110E9C1
=$1h//1 !191$0151$E5b11< 19 1$ =015/1=$1$109!151$1;/0$1E /1
$91$901 /1EE0 1111
11
ijklmnopqormsjltul1
                  [1vwxyz{x1[1|{}{~{22v yz2v1[1{~zz{}{~{1[1222
[1{}{~{1
11
34567189 1 1 911
71< /09!"1#9$1_"1&'&&1%%(%'1+#1
,571+0$ 1:55/190$ 55/6//9/71-./0/"11/!1210./0/ .01
3471 /9/1/0/1/9/5/0/6//9/7180/1:55/1
0/55/6//9/71;1</0/1 =/0/6//9/71>9$9!1?001
@9$9!006//9/71;9/1A 919/ 96//9/7111
-!10!6//9/71 !9/1B91C9971B!1D@1
C@971 9/11$9$/00!10$9$/00!9711=9/"129C1
E0=9/ .0719 "191$59  .071F09/"180991
09/ .0712919C 1E99C 6//9/718 /199/1

1                                            ¼
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 46 of 121


 /$9/6//9/1
GHI471?(182+JA9511E9/1K1+ 1D 1
11
+0$ (1
11
< 101 . 15 9C151;/0$1/019/1=1 19C11!10/11
11
1(1
11
+ 1!10/ 1551/1$1EE0 1$9/0·1
11
`$9/C0111
11
MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM1
NO4PQ3RQS544TUU51
,5VGWQVOUQXQVOUQYYZ1
D/12//129@91[111\\\)1[1] =1^C"1]^1%'%%_1
 91
11
A 1̀ (1a&%&b1&'%cd)e%1
  9f(1a&%&b1_dec*&)g11
===9=51
11
D/1#91_"1&'&&"191%'(%)1+#"1+0$ 1:55/190$ 55/6//9/1= (1
11
89 "1
11111+/!1E91/1$10E9/·1
11
c1+0$ 1
11
D/1#91g"1&'&&"191)())12#"189 1 1 91= (1
11
                            ¬­®,­¯°±YQ­²±³YQ́456QIH544TUU5µO65VGR456¶1
21
A 91+0$ (11                                                                        1
11
< L.15=9 1$1EE0 1 .0/011;/0$1/019/1=1 19C11!1/1= L.1
  000 1/ /9!11:./1$1 155 /"11=1C!11 =11
MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM1
89 1F1 1
`"1191K1191--21

1                                       ½
2
21-12075-dsj     Doc 175      Filed 03/18/22 Entered 03/18/22 18:04:15             Main Document
                                         Pg 47 of 121


D/12//129@91[111\\\)1[1] =1^C"1]^1%'%%_1
 91
1
A 1̀ (1a&%&b1&'%cd)e%1
#(11ad*db1)%&c&'\_1
  9f(1a&%&b1_dec*&)g11
1
===9=51
11
D/1#91g"1&'&&"191*()g12#"1+0$ 1:55/190$ 55/6//9/1= (1
11
9 19"1
1111111111111111̀$1821-9019/ 182-115/1!0 9!1/1$1-//1901=1 6 1 .0/011$1
1E9/11+5 1$15/"1$1-//1F10/191/11$1E901=$1.901/0/019/ 1
0/10. 91 9/011]=1$91$1-//11$901/ ./ 19/1./1/0/0"1= 1/ 11
09!1$1E /0"19/1901$10/1$9/1=9015 19/1$11$901/9 1$911
=9/011$91$10 .19/10/1$9/19EE9/01$ "1= 1/ 119 001$91001
901= 11
11
               < 1$/C1$1019/ 19/01=9!15=9 1015191E901a$ 1$9/1-$C/b10119 1
191/0/1 1109!1$1E /019/1f/1$1 9/01/1$1-//1L01 1+0191
E9919 "1$19 9/ /1=110911$19 9/ /1/1$1 /1 9510E9/"1
=$1$15=/155 /0(1
       ¾0000000¿««0¦0À0ÁÂ§ÃÄÅ0§«ÆÃÄ0ÆÂ0ÂÇ§0¿ÁÁ«§¿Å0È««0ª0¿ÉÃÊ0
       ¾0000000À0ÃÂ¿¦0§0ÂÃÂ0Ç¿Â0À0Ã¿Ã«00Ã¿ÉË0¥ÂÃÂÅ0ÈÀ§À0À¿Ç0ÄÂ¿««É0
              ª0ÌÇÃ0ª¿§Í0ªÉ0¡Î0Ã¿ÉÅ0ªÄ0À0ÆÌªÂ0¦0Ã¿É0ªÈ0Ã¿É0¿Ã00ÏÁÂ«Ê0
              ¿Ã0
       ¤¾0000000ÐÂÌÃ¿0ÑÂ0ÒÓ¤0¿Ã0Ó¡Ô0ÀÆ«Ã0Ä0À0§0ÂÃÂÅ0¿0À0ÑÃ0
              §ÆÂË0ÂÃÂ0¿«0Â¦Â00ÀÌ¾0
                    ¿¾0000000Ï00Ó¤ÕÓ¡Å0È0§¿0¿Ä¿0ÌÁÀ¿0À¿0È0¿Â0À¿ÁÁÉ0¦Â0À0¿ÄÂÌ00
                            ¿0¿É00ª0ÈÀÆ0ÁÂÖÆÃ§00ÓÓ¡Ë0Á0¿00ÖÆÂÃ§¾0
11
`$1E901=1/ 119 11=C1$ "1901./1$1L019/01= 1=1/ 111
     91=$/1/5/1$1151$1/0/1 "1./1$91$11$9019 9!19C/1/ 01
9/19/1 9 11$1-//19011< 1$/C11=119EEE9110/19151 11$1
11fE9/1=$!1$1E901=1C19109!"19/1$1=9!01/1=$$1$01$1$E1/9 =1$1
000J 0.1 9/19 01= /1$1E901
11
11111111111111112901 .=1$1 .0/011$10E9/19/1101C/=1!1$$01
11
×ØÙÚÛÜÝÞÜßÛàááàâã
äåæçèéèêëéêãìèíîéïíãæãðñòîëéã
óôjlloõö÷lômøoùúûôü÷úýoþoiôøøjs÷l0orrp2
12yz324{5w1
|x{y2|w267782792
  }{26829 2

1
2
21-12075-dsj    Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15    Main Document
                                      Pg 48 of 121


w{xxz2zz{wz2{2
2zz{wz2{1
11
11
11
345671+0$ 1:55/1
71̀09!"1#9$1g"1&'&&1d('g1+#1
,57189 1 1 971 /9/1/0/1
/9/5/0/6//9/1
3471-./0/"11/!1210./0/ .07180/1:55/10/55/6//9/71
;1</0/1 =/0/6//9/71>9$9!1?001@9$9!006//9/71
;9/1A 919/ 96//9/7111-!10!6//9/71
  !9/1B91C9971B!1D@1C@971 9/11$9$/00!1
0$9$/00!9711=9/"129C1E0=9/ .0719 "191
$59  .071F09/"18099109/ .0712919C 1
E99C 6//9/718 /199/1 /$9/6//9/1
GHI471?;(182+JA9511E9/1K1+ 1D 1
11
 ^8"11-//19101 .=/1E999E$1%151$10E9/19/1$1EE0 1 1/1$1-//1
9011  / 151!0 9!L015/1!1821-9019/182-118 9/1- 1/1$1-//1901=1
/00919/!1 .0/01
11
11
×ØÙÚÛÜÝÞÜßÛàááàâã
äåæçèéèêëéêãìèíîéïíãæãðñòîëéã
óôjlloõö÷lômøoùúûôü÷úýoþoiôøøjs÷l0orrp2
12yz324{5w1
|x{y2|w267782792
  }{26829 2
w{xxz2zz{wz2{2
2zz{wz2{1
11
11
34567189 1 1 911
71#/9!"1#9$1e"1&'&&1d()_12#1
,571 /9/1/0/1/9/5/0/6//9/1
3471-./0/"11/!1210./0/ .071+0$ 1:55/190$ 55/6//9/71
80/1:55/10/55/6//9/71;1</0/1 =/0/6//9/71
>9$9!1?001@9$9!006//9/71;9/1A 91
9/ 96//9/7111-!10!6//9/71 !9/1B91
C9971B!1D@1C@971 9/11$9$/00!1
0$9$/00!9711=9/"129C1E0=9/ .0719 "191
$59  .071F09/"18099109/ .01
GHI471?(182+JA9511E9/1K1+ 1D 1
11
                            ¬­®,­¯°±YQ­²±³YQ́456QIH544TUU5µO65VGR456¶1
21
   /(111                                                                               1

1                                         
2
21-12075-dsj    Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15        Main Document
                                      Pg 49 of 121


11
< L 1=9/1510/1551/110 1511L01 .0/01/19/1$9EE/ 16C!1/1$1 /1
015/9@ 111
11
`$9/C011
MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM1
89 1F1 1
`"1191K1191--21
D/12//129@91[111\\\)1[1] =1^C"1]^1%'%%_1
 91
1
A 1̀ (1a&%&b1&'%cd)e%1
#(11ad*db1)%&c&'\_1
  9f(1a&%&b1_dec*&)g11
1
===9=51
11
D/1#91e"1&'&&"191d(*g12#"1 /9/1/0/1/9/5/0/6//9/1= (1
11
1L01$9/019 19E911<11̀$01=115 1 =·11
11
    /1/0/1
a_%eb1g*dc\&&g1
0ad\%b1)''c'g*e01
11
345671-./0/"11/!1210./0/ .011
71#/9!"1#9$1e"1&'&&1*(*g12#1
,57189 1 1 91
3471 /9/1/0/1/9/5/0/6//9/71+0$ 1:55/1
90$ 55/6//9/7180/1:55/10/55/6//9/71;1</0/1
 =/0/6//9/71>9$9!1?001@9$9!006//9/71;9/1
A 919/ 96//9/7111-!10!6//9/71 !9/1
B91C9971B!1D@1C@971 9/11$9$/00!1
0$9$/00!9711=9/"129C1E0=9/ .0719 "191
$59  .071F09/"18099109/ .01
GHI471?;(182+JA9511E9/1K1+ 1D 1
11
                            ¬­®,­¯°±YQ­²±³YQ́456QºU»Tº5µPH»5TºR456¶1
 21
89 111                                                                                      1
11
D1 .0/011$1. 0/151$1 19 1!1 /19 19!19 199$ 1a9/19/ 1
9C/b"1=$$1/E901$1$9/01810/11!1901< /09!1129011 1C/=151!1$9.1
 60/011=9/110001
 11

1                                            
2
21-12075-dsj    Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15         Main Document
                                      Pg 50 of 121


`$9/C0"111
11
11
11
ijklmnopqormsjltul1[1vwxyz{x1[1|{}{~{22v yz2v1[1{~zz{}{~{1[1222
[1 {}{~{1
11
345671-./0/"11/!1211
71#/9!"1#9$1e"1&'&&1%(%e12#1
,57189 1 1 91
3471 /9/1/0/1/9/5/0/6//9/71+0$ 1:55/1
90$ 55/6//9/7180/1:55/10/55/6//9/71;1</0/1
 =/0/6//9/71>9$9!1?001@9$9!006//9/71;9/1
A 919/ 96//9/7111-!10!6//9/71 !9/1
B91C9971B!1D@1C@971 9/11$9$/00!1
0$9$/00!9711=9/"129C1E0=9/ .0719 "191
$59  .071F09/"18099109/ .01
GHI471?(182+JA9511E9/1K1+ 1D 1
11
`$9/C0189 19/1=111111
H»5TºQQ
XQZUT65Q1
TPQZRQY»Tº51
29/ 1
11
0./0/ .01
%1&%&1_'_1d_%\1a`b1
11
=== .01
11
`$01c91 009101// 1/!151$10151$1/.911/!11=$$11019 00 19/11
9!1/9/1/59/1$9101E. "1/5 /919/1fE15100 1851!19 1/1$1
// 1 E/"1E9011/100/9"1011E!1$01/9/"1!1c911
$ =018/09"1E901/5!101 9!1!1 /1c91a//1$1/91 0091/1!1
   E!b19/1!1E$/1a!19!191011/1] =1^C191%c&%&c_'_cd'''b19/ 1$/1 19/ 1
  09 191E0151$1c91̀$9/C1!11
`$1901. 0/15112.9!12!"1=$$1/ 01/59/191$=1= 1"1019/ 1
E1E 0/9199"10191=== .01
11
11
11
D/1#91e"1&'&&"191%(%*12#"189 1 1 91= (1
11(1

1                                            
2
21-12075-dsj    Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15        Main Document
                                       Pg 51 of 121


11
85181 1!1EE0 1$9/0"11=901////9112901/ 1$1/1$1 /1!10/1
. 1$0195 //11
11
`$9/C01
MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM1
89 1F1 1
`"1191K1191--21
D/12//129@91[111\\\)1[1] =1^C"1]^1%'%%_1
 91
1
A 1̀ (1a&%&b1&'%cd)e%1
#(11ad*db1)%&c&'\_1
  9f(1a&%&b1_dec*&)g11
1
===9=51
11
D/1#91e"1&'&&"191%('%12#"1-./0/"11/!1210./0/ .01= (1
11
+15="1= L10/1. 1$0195 //11^1/ 11EE0 1$9/0112999E$1&10/1901= C"1
9/!1 90/151$9·11+0"1E901E!1191aE 1/1$019b1/1$019011̀$9/C0"111
11
ijklmnopqormsjltul1[1vwxyz{x1[1|{}{~{22v yz2v1[1{~zz{}{~{1[1222
[1 {}{~{1
11
34567189 1 1 911
71#/9!"1#9$1e"1&'&&1%&(\&12#1
,571-./0/"11/!1210./0/ .01
3471 /9/1/0/1/9/5/0/6//9/71+0$ 1:55/1
90$ 55/6//9/7180/1:55/10/55/6//9/71;1</0/1
 =/0/6//9/71>9$9!1?001@9$9!006//9/71;9/1
A 919/ 96//9/7111-!10!6//9/71 !9/1
B91C9971B!1D@1C@971 9/11$9$/00!1
0$9$/00!91
GHI471?(182+JA9511E9/1K1+ 1D 1
11
1(111
11
A1!1$9.19/!1 /011$10E9/·11
MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM1
89 1F1 1
`"1191K1191--21
D/12//129@91[111\\\)1[1] =1^C"1]^1%'%%_1
 91
1
A 1̀ (1a&%&b1&'%cd)e%1

1                                             
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15     Main Document
                                    Pg 52 of 121


#(11ad*db1)%&c&'\_1
 9f(1a&%&b1_dec*&)g11
1
===9=51
11
D/1#91e"1&'&&"191%%(*\1+#"1 /9/1/0/1/9/5/0/6//9/1= (1
11
81/L1C/=191A .019/1/L1C/=1$=10!1!1CE1$1/1$1E1. 1$1= C/1
01/10 151$!1/ 1 11
< 19 11a900/1/1 /0151$101091E9/1EE//0b1
11
00
¡¢£¤¡0¥¦¦§0
¢£¡¨¤0©ª«1
11
34567189 1 1 911
71#/9!"1#9$1e"1&'&&1%%(*%1+#1
,571 /9/1/0/1/9/5/0/6//9/1
3471-./0/"11/!1210./0/ .071+0$ 1:55/190$ 55/6//9/71
80/1:55/10/55/6//9/71;1</0/1 =/0/6//9/71
>9$9!1?001@9$9!006//9/71;9/1A 91
9/ 96//9/7111-!10!6//9/71 !9/1B91
C9971B!1D@1C@971 9/11$9$/00!1
0$9$/00!91
GHI471?(182+JA9511E9/1K1+ 1D 1
11
                            ¬­®,­¯°±YQ­²±³YQ́456QIH544TUU5µO65VGR456¶1
21
   /(11                                                                                1
11
< L 15/1=$1!1EE0 1$9/011+ 1$ 19/!1 1 /0151h//11A .0·11851
/"18¹1919/1f/1. 0/11+1$01 0 . 11
11
11
MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM1
89 1F1 1
`"1191K1191--21
D/12//129@91[111\\\)1[1] =1^C"1]^1%'%%_1
 91
1
A 1̀ (1a&%&b1&'%cd)e%1
#(11ad*db1)%&c&'\_1
 9f(1a&%&b1_dec*&)g11
1
===9=51
1                                        
2
21-12075-dsj   Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15      Main Document
                                     Pg 53 of 121


11
D/1#91e"1&'&&"191%%(\d1+#"1 /9/1/0/1/9/5/0/6//9/1= (1
11
=$9101$19/E9 1/1/1$0·111
11
00
¡¢£¤¡0¥¦¦§0
¢£¡¨¤0©ª«1
11
345671 /9/1/0/11
71#/9!"1#9$1e"1&'&&1_(\d1+#1
,57189 1 1 971-./0/"11/!1210./0/ .01
3471+0$ 1:55/190$ 55/6//9/7180/1:55/10/55/6//9/71
;1</0/1 =/0/6//9/71>9$9!1?001@9$9!006//9/71
;9/1A 919/ 96//9/7111-!10!6//9/71
  !9/1B91C9971B!1D@1C@971 9/11$9$/00!1
0$9$/00!91
GHI471?;(182+JA9511E9/1K1+ 1D 1
11
0 1/1 /011$1EE0 15/111110 /1$ 1 /0"111
11
11
00
¡¢£¤¡0¥¦¦§0
¢£¡¨¤0©ª«1
11
34567189 1 1 911
711/9!"1#9$1d"1&'&&1g(\'12#1
,571-./0/"11/!1210./0/ .01
3471 /9/1/0/1/9/5/0/6//9/71+0$ 1:55/1
90$ 55/6//9/7180/1:55/10/55/6//9/71;1</0/1
 =/0/6//9/71>9$9!1?001@9$9!006//9/71;9/1
A 919/ 96//9/7111-!10!6//9/71 !9/1
B91C9971B!1D@1C@971 9/11$9$/00!1
0$9$/00!91
GHI471?(182+JA9511E9/1K1+ 1D 1
11
                            ¬­®,­¯°±YQ­²±³YQ́456QIH544TUU5µO65VGR456¶1
21
1(111                                                                                    1
11
29010 199$ 11
MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM1
89 1F1 1
`"1191K1191--21
1                                          
2
21-12075-dsj   Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                     Pg 54 of 121


D/12//129@91[111\\\)1[1] =1^C"1]^1%'%%_1
 91
1
A 1̀ (1a&%&b1&'%cd)e%1
#(11ad*db1)%&c&'\_1
 9f(1a&%&b1_dec*&)g11
1
===9=51
11
D/1#91d"1&'&&"191g(%'12#"1-./0/"11/!1210./0/ .01= (1
11
89 1c19/1!1E9010/1919C/199/01$1901. 0/19 ·11̀$9/C0"111
H»5TºQQ
XQZUT65Q1
TPQZRQY»Tº51
29/ 1
11
0./0/ .01
%1&%&1_'_1d_%\1a`b1
11
=== .01
11
`$01c91 009101// 1/!151$10151$1/.911/!11=$$11019 00 19/11
9!1/9/1/59/1$9101E. "1/5 /919/1fE15100 1851!19 1/1$1
// 1 E/"1E9011/100/9"1011E!1$01/9/"1!1c911
$ =018/09"1E901/5!101 9!1!1 /1c91a//1$1/91 0091/1!1
   E!b19/1!1E$/1a!19!191011/1] =1^C191%c&%&c_'_cd'''b19/ 1$/1 19/ 1
  09 191E0151$1c91̀$9/C1!11
`$1901. 0/15112.9!12!"1=$$1/ 01/59/191$=1= 1"1019/ 1
E1E 0/9199"10191=== .01
11
11
11
D/1#91d"1&'&&"191)(**12#"189 1 1 91= (1
11
11
A 91h//1919/11(1
11
`$1 9510E9/19/19 1 10199$ 151!1 .=1< 19 1 9019/19 1 9/1
//c009/.1 01a"1 5/ 1 019/19/1Eb1/19/1551159@1$19 1E/1C!1
0E9/1E/01+1511 01= 1// 1901/91

1                                          ¸
2
21-12075-dsj   Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                      Pg 55 of 121


11
2901 .=19/1101C/=151!1$9.19/!1 011=1C110001̀$01 951 9/0101
1//1 .=19/1/19EE.91+1$01 0 . 111
11
11
MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM1
NO4PQ3RQS544TUU51
,5VGWQVOUQXQVOUQYYZ1
D/12//129@91[111\\\)1[1] =1^C"1]^1%'%%_1
 91
11
A 1̀ (1a&%&b1&'%cd)e%1
 9f(1a&%&b1_dec*&)g11
===9=51
1E9/19/1+ 1D 1a`1A951\cdc&&bf1
11
&&'\'gME9 11E9/19/1+ 1D f1
0




1                                           ¼
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 56 of 121




                                     Exhibit 3
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 57 of 121


3456789 1 1  1
78!" #$1% &1'($1)*))1+,*-1.%1
/578.0& 1122"1
3478"1!&&"00#516#178519:"0"$1!"#1;51""1<"0"5190"1122"51
=1>"0"51?& #1@0051="1A  51!19#51#"16 51!B "$1
;C51<  $1D51E0"$1F051;1C 51F "1D "1
GHI478@,19;.JA 21!K"1L1. 17 1
M N4O6P78QK  1!K"1"1. 17 1R1@=A9FS=1T(R'(R))UV51QK  1!K"1
  "1. 17 1R1<"1T(R'(R))UV1
11
.0& ,1111
1
W&1KK0 12"1: 0"1210K"1"1 "10&B"112B1"1&"01 1& 1; 01
"21B&& 1#1 10" 1221"1&10K"$1"1B&& 1B 1"122V1#1"1
0" 1"1#1&212 12"1
1
!,1
1
! 11#1; 01"21B&& 1#1 10" 1221"1&10K"$1"1B&& 1B 1"122V1
#1"10" 1"1#1&212 12"1
1
W&"C01
1
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
9 1E1 1
W$1!1L1!199;1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
1
A 1W,1T)')U1)*'R]Z^'1
%,11T]-]U1Z')R)*(\1
<V,1T)')U1\]^R-)Z+11
1
BBBB21
1
1
7"1% 1')$1)*))$11'*,'Z1;%$1.0& 1122"10& 22"_"" "1B ,1
1
9 $1
1111111111111111.& 1 1&101 "1: 0"0121&1!K1"1&1"0"1 1&1B 1
 11W&01 1&1 " 1: 0"01"1101#1" 0""1&1&01: 0"01&:1 "1
  KK: 1#1: #"1
11
`abcdefgehdijjikl
mnopqrqstrsluqvwrxvlolyz{wtrl
|}~}}} ~2
21
                                         0
1                                       
2
21-12075-dsj   Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15    Main Document
                                     Pg 58 of 121


22¡¢£¢¤2¥¥¢¦¥§¨£2
©ª«2¡¬§­¤2®§¨¦£¨¬­2
¯°±±²³´µª´2
¶¶¶µ³´µª´1
11
11
11
3456719 1 1  11
71! #$1% &1')$1)*))1],)]1;%1
/571.0& 1122"10& 22"_"" "1
3471"1!&&"00#10&&"00# 516#1781C8 519:"0"$1
!"#1;10:"0" :051""1<"0"1""2"0"_"" "51
90"1122"10"22"_"" "51=1>"0"1 B"0"_"" "51
?& #1@0018& #00_"" "51="1A  1
"  _"" "51!19#10#_"" "51#"16 1
C  51!B "$1;C1K0B " :051<  $1D1
&2   :051E0"$1F010" :051;1C 1
KC _"" "51F "1D "1 "&"_"" "1
GHI471@,19;.JA 21!K"1L1. 17 1
11
                            ·¸¹/¸º»M¼8̧½M¾¼8¿4568IH544ÀÁÁ5Â N6 5ÃGÄ456Å0
21
.0& ,1                                                                                 1
11
> 12"1B&1&1 :0 1"0"1 $11
F21#1 110"1 1&1 :0 1"0"1 1& 1B&1&1001: 0"121&10K$1F1"1
K1& 1"1V"1: 0"11
11
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
ÆN4Ç83Ä8È544ÀÁÁ51
/5ÃGÉ8ÃNÁ8Ê8ÃNÁ8¼¼Ë1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
1
A 1W,1T)')U1)*'R]Z^'1
<V,1T)')U1\]^R-)Z+11
1
BBBB21
1
7"1% 1')$1)*))$11),(-1;%$1.0& 1122"10& 22"_"" "1B ,1
11
; 01101C"B1&100121&10K"1Ì=1"1A :01&:10" 122$101 2 " 1B1
1

1                                         Í
2
21-12075-dsj        Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15                     Main Document
                                             Pg 59 of 121


7"1% 1''$1)*))$11Z,*-1;%$1F "1D "1 "&"_"" "1B ,1
11
A 1$1
11
; 010 1& 1"1K  1 2121&1"0"1 $1B&&1&01 "1 1B&1A :01
11
6"1  0$1
F "1
11
3456719:"0"$1!"#1;10:"0" :011
71''1% &1)*))1Z,-]1;%1
/571Î9 1 Î1  1
3471""1<"0"1""2"0"_"" "51F "1D "1
 "&"_"" "51.0& 1122"10& 22"_"" "5190"1122"1
0"22"_"" "51=1>"0"1 B"0"_"" "51?& #1@001
8& #00_"" "51="1A  1"  _"" "51!1
9#10#_"" "51#"16 1C  516#1781
C8 51"1!&&"00#10&&"00# 51!B "$1;C1
K0B " :051<  $1D1&2   :051E0"$1F01
0" :051;1C 1KC _"" "1
GHI471@=,19;.JA 21!K"1L1. 17 1
11
                          ·¸¹/¸º»M¼8̧½M¾¼8¿4568PÁÏÀP5ÂÇHÏ5ÀPÄ456Å0
21
                                                                                      1
ÐÑ2Ò1
21
Ó2«¯±2ª±2¯2Ôª2¶22´«2ª2°°2¯2ª2ªÑ22
¯2ÕÖ2¡¶2ÑÑ2̄×22ªØ2ª±2́ª2¯°2ª2¯2¯«2¯2¶22
°2«Ù2Ú2ÕÖ2ª¶2Ñ2¯2¶2ÑªÛ2¯Ü2¯ªÑ2«2ªª×¤2
Ñ2«Ù2ª2ª2°°2¯2Øª2ªÑÙµ1
21
ÝØÙ2Þ2̄×2ª22Ù2×Ñ2ß2̄2ª2«2±Ñà22Þ±2ª2
Ø2Ñ22¯2́ª22Ñ±2ª¶µ1
21
¯Ü2ÝÑµ1
11
~áâã~äå1
                  Y1ß1Y1«×ª2æ2ß´Øª2ÔÔß1Y1×ª²Ñ«×ªµª´1Y1ç§2­§­2è¨è2
¥è§£Y1¶¶¶µÑ«×ªµª´1
11
3456719 1 1  11
71< #$1% &1''$1)*))1'',Z-1.%1
/5719:"0"$1!"#1;10:"0" :01
3471""1<"0"1""2"0"_"" "51F "1D "1
 "&"_"" "51.0& 1122"10& 22"_"" "5190"1122"1

1                                                       é
2
21-12075-dsj   Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                      Pg 60 of 121


0"22"_"" "51=1>"0"1 B"0"_"" "51?& #1@001
8& #00_"" "51="1A  1"  _"" "51!1
9#10#_"" "51#"16 1C  516#1781
C8 51"1!&&"00#10&&"00# 51!B "$1;C1
K0B " :051<  $1D1&2   :051E0"$1F01
0" :051;1C 1KC _"" "1
GHI471@,19;.JA 21!K"1L1. 17 1
11
9ê011&01"1 #1
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
ÆN4Ç83Ä8È544ÀÁÁ51
/5ÃGÉ8ÃNÁ8Ê8ÃNÁ8¼¼Ë1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
11
A 1W,1T)')U1)*'R]Z^'1
<V,1T)')U1\]^R-)Z+11
BBBB21
11
7"1% 1'*$1)*))$11'*,*^1.%$19:"0"$1!"#1;10:"0" :01B ,1
11
W&101 1" $1B&1&1"2121&1 "1"2 "1K: 1#1Ì""1#0 #$1B 1
 VK1111"11K0"11 0K" 1B&1 0K11&1KK0 1Ì""1&"01 #11!1
11
~áâã~äå1
                  Y1ß1Y1«×ª2æ2ß´Øª2ÔÔß1Y1×ª²Ñ«×ªµª´1Y1ç§2­§­2è¨è2
¥è§£Y1¶¶¶µÑ«×ªµª´1
11
345671""1<"0"1""2"0"_"" "11
71W&0 #$1% &1'*$1)*))1'*,*(1.%1
/5719 1 1  51F "1D "1 "&"_"" "1
34719:"0"$1!"#1;10:"0" :051.0& 1122"10& 22"_"" "51
90"1122"10"22"_"" "51=1>"0"1 B"0"_"" "51
?& #1@0018& #00_"" "51="1A  1
"  _"" "51!19#10#_"" "51#"16 1
C  516#1781C8 51"1!&&"00#1
0&&"00# 51!B "$1;C1K0B " :051<  $1D1
&2   :051E0"$1F010" :051;1C 1
KC _"" "1
GHI471@=,19;.JA 21!K"1L1. 17 1
11


1                                           ë
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15    Main Document
                                    Pg 61 of 121


F1&"C1&100101A :01"0 "1101"121 01 1Q61K0011W11 $1B&1
   0K111: "#1"10: #10001 :"121&1(J'-1& "$1B 1 11K "1" 1
  1#08 1  "1
11
ìíî0ïðîíñòóîí0
ôõôö÷øùöúûøõ0üýýðþí0
ùõúö÷ø0öûôô÷01ó2ð3í1
11
3456719 1 1  11
71W&0 #$1% &1'*$1)*))1'*,**1.%1
/571F "1D "1 "&"_"" "1
34719:"0"$1!"#1;10:"0" :051.0& 1122"10& 22"_"" "51
""1<"0"1""2"0"_"" "5190"1122"1
0"22"_"" "51=1>"0"1 B"0"_"" "51?& #1@001
8& #00_"" "51="1A  1"  _"" "51!1
9#10#_"" "51#"16 1C  516#1781
C8 51"1!&&"00#10&&"00# 51!B "$1;C1
K0B " :051<  $1D1&2   :051E0"$1F01
0" :051;1C 1KC _"" "1
GHI471@,19;.JA 21!K"1L1. 17 1
11
                          ·¸¹/¸º»M¼8̧½M¾¼8¿4568IH544ÀÁÁ5Â N6 5ÃGÄ456Å0
21
F01& 11 :0 10K"1&ê01"111 411                                  1
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
9 1E1 1
W$1!1L1!199;1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
1
A 1W,1T)')U1)*'R]Z^'1
%,11T]-]U1Z')R)*(\1
<V,1T)')U1\]^R-)Z+11
1
BBBB21
11
7"1% 1\$1)*))$11'',Z^1.%$1F "1D "1 "&"_"" "1B ,1
11
!$1
11
W&"C0121#1 1W&1121B 01 : 116"0 "1! :019 101#1"0ê1
K001"1"1)'19" #1)*))$1"1  10 : 1"1)Z19" #1)*))1F1&01& 2 1 "10 : 1
"1 "1B&1E;@1]''1"1&1K:0"0121&1F"  19001!#1.00" "01"1
F"  19001"1F"  19001; "1;001."19 01
11
1                                         5
2
21-12075-dsj   Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                     Pg 62 of 121


7"1&0100$1#1"01 1K 011&1""1K "01T:"121&#1&:1"12 1
 C"B  "01210 :U$1B&&1B1""1"01&1"1 "1B&1#0 #ê01E1
7 121&#11"10"1&1"0"1 1"1 1110#1> 1 1&KK#11" 1"1&1
0#01&1#1"0ê1  "11&1"0"1 101B&1K 11&1K0"1011
0"11:10 :121&11211K  01211
11
6"1  0$1
F "11
11
3456719:"0"$1!"#1;10:"0" :011
71*\1% &1)*))1-,)^1;%1
/571Î9 1 Î1  51.0& 1122"10& 22"_"" "1
3471""1<"0"1""2"0"_"" "5190"1122"1
0"22"_"" "51=1>"0"1 B"0"_"" "51?& #1@001
8& #00_"" "51="1A  1"  _"" "51!1
9#10#_"" "51#"16 1C  516#1781
C8 51"1!&&"00#10&&"00# 51!B "$1;C1
K0B " :051<  $1D1&2   :051E0"$1F01
0" :051;1C 1KC _"" "51F "1D "1
 "&"_"" "1
GHI471@=,19;.JA 21!K"1L1. 17 1
11
                               ·¸¹/¸º»M¼8̧½M¾¼8¿4568PÁÏÀP5ÂÇHÏ5ÀPÄ456Å1
21
9 1"1.0& 1R1<11K 0K:$1B 1"ê10 1"#1 0"1211"01B&1&:1"1#1 "11
0 : 110"1&1"0"1 10#"1&1="0&1K "$11"11"1&1"K1""1&1
"0"1 1K"1 :"10 :$1"00"1B&1&1&"01B 1KK0 11TF11 110K C1
B&1Ì""1 #11&0121&K2U11> 1 1& B012"1B&1&10#121&1="0&1K "1
&1&01 "1KK0 11!1
11
~áâã~äå1
                  Y1ß1Y1«×ª2æ2ß´Øª2ÔÔß1Y1×ª²Ñ«×ªµª´1Y1ç§2­§­2è¨è2
¥è§£Y1¶¶¶µÑ«×ªµª´1
11
3456719 1 1  11
71> "0 #$1% &1\$1)*))1'','*1.%1
/571.0& 1122"10& 22"_"" "519:"0"$1!"#1;10:"0" :01
3471""1<"0"1""2"0"_"" "5190"1122"1
0"22"_"" "51=1>"0"1 B"0"_"" "51?& #1@001
8& #00_"" "51="1A  1"  _"" "51!1
9#10#_"" "51#"16 1C  516#1781
C8 51"1!&&"00#10&&"00# 51!B "$1;C1
K0B " :051<  $1D1&2   :051E0"$1F01
0" :051;1C 1KC _"" "51F "1D "1
 "&"_"" "1
GHI471@,19;.JA 21!K"1L1. 17 1
11
.0& ,1

1                                           6
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 63 of 121


11
> 101 : 12 C121="0&1"01"1B1 1C11#10"11
11
!,1
11
. 1#10" 1221"1&1KK0 1&"041
11
W&"C0111
11
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
ÆN4Ç83Ä8È544ÀÁÁ51
/5ÃGÉ8ÃNÁ8Ê8ÃNÁ8¼¼Ë1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
11
A 1W,1T)')U1)*'R]Z^'1
<V,1T)')U1\]^R-)Z+11
BBBB21
11
7"1% 1\$1)*))$11'*,'Z1.%$1.0& 1122"10& 22"_"" "1B ,1
11
9 $1
11111."#1K 1"1&10K"41
11
R1.0& 1
11
7"1% 1+$1)*))$11Z,ZZ1;%$19 1 1  1B ,1
11
                           ·¸¹/¸º»M¼8̧½M¾¼8¿4568IH544ÀÁÁ5Â N6 5ÃGÄ456Å1
21
A 1.0& ,11                                                                      1
11
> ê:12B 1&1KK0 1 :0"011="0&1"01"1B1 1C11#1"1B ê:1
  000 1" "#111:"1&1 122 "$11B1C#11 B11
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
9 1E1 1
W$1!1L1!199;1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
1
A 1W,1T)')U1)*'R]Z^'1

1                                       7
2
21-12075-dsj    Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15           Main Document
                                       Pg 64 of 121


%,11T]-]U1Z')R)*(\1
<V,1T)')U1\]^R-)Z+11
1
BBBB21
11
7"1% 1+$1)*))$11-,Z+1;%$1.0& 1122"10& 22"_"" "1B ,1
11
D 1$1
1111111111111111W&19;19 01" 19;9!12"1#0 #1"1&19""101B1 _ 1 :0"011&1
!K"11.2 1&12"$1&19""1E10"11"11&1K 01B&1: 01"0"01" 1
0"10: 1 "011SB1&1&19""11&01" :" 1"1:"1"0"0$1B 1" 11
0#1&1K "0$1"101&10"1&"1B 012 1"1&11&01" 1&11
B "011& 1&10 :1"10"1&"1KK"01& $1B 1" 11 001&1001
  01B 11
11
               > 1&"C1&101" 1 "01B #12B 101211K 01T& 1&"19&C"U1011 1
11"0"1 110#1&1K "01"1V"1&1 "01"1&19""1ê01 1.011
K 1  $1&1 " "1B110 11&1 " "1"1&1 "1 210K"$1
B&1&12B"122 "0,1
               '0000000121&1K "0$1""110 :1KK"$1B110# 51
               )0000000&1 21"0"1 1: 01&1 "01"1 #ê017 $1B&&1&:1" #1 "1
                       : 1C1#1-Z1 #0$1"1&1" 121 #01B "1 #1"1))1.K51"1
               (0000000F"  190001TA(1" 1A-U10&10"1&1"0"1 $101&19""1ê01
                        101 2 011&1
                             0000000.011A(JA-$1B 1"1"1K&001&1B 1 1&KK#121&1  "111
                                    0#111B&1K 11A'RA-ê01K0"10110"1
11
W&1K 01B1" 11 11BC1& $101:"1&1ê01"01B 1B1" 111
     1B&"1"2"1&1121&1"0"1 $1:"1&1&11&01 #1C"1" 01
  "1"1  11&19""1011> 1&"C11B11KKK110"1121 11&1
11VK"1B&#1&1K 01B1C110#$1"1&1B #01"1B&&1&01&1&K1" B1&1
000J 0:1 "1  01B "1&1K 01
11
1111111111111111; 01 :B1&1 :0"011&10K"1"1101C"B1#1&&01
11
`abcdefgehdijjikl
mnopqrqstrsluqvwrxvlolyz{wtrl
|}~}}} ~2
21
22¡¢£¢¤2¥¥¢¦¥§¨£2
©ª«2¡¬§­¤2®§¨¦£¨¬­2
¯°±±²³´µª´2
¶¶¶µ³´µª´1
11
11
11
1                                              8
2
21-12075-dsj   Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                      Pg 65 of 121


345671.0& 1122"1
71W0 #$1% &1+$1)*))1],*+1.%1
/5719 1 1  51""1<"0"1
""2"0"_"" "1
34719:"0"$1!"#1;10:"0" :05190"1122"10"22"_"" "51
=1>"0"1 B"0"_"" "51?& #1@0018& #00_"" "51
="1A  1"  _"" "51!19#10#_"" "51
#"16 1C  516#1781C8 51"1!&&"00#1
0&&"00# 51!B "$1;C1K0B " :051<  $1D1
&2   :051E0"$1F010" :051;1C 1
KC _"" "51F "1D "1 "&"_"" "1
GHI471@=,19;.JA 21!K"1L1. 17 1
11
<[F$119""1 101 :B"1K  K&1'121&10K"1"1&1KK0 1 1"1&19""1
011  " 121#0 #ê012"1#19;19 01"19;9!1F "19 1"1&19""101B1
"001"#1 :0"01
11
11
`abcdefgehdijjikl
mnopqrqstrsluqvwrxvlolyz{wtrl
|}~}}} ~2
21
22¡¢£¢¤2¥¥¢¦¥§¨£2
©ª«2¡¬§­¤2®§¨¦£¨¬­2
¯°±±²³´µª´2
¶¶¶µ³´µª´1
11
11
3456719 1 1  11
71%" #$1% &1^$1)*))1],Z\1;%1
/571""1<"0"1""2"0"_"" "1
34719:"0"$1!"#1;10:"0" :051.0& 1122"10& 22"_"" "51
90"1122"10"22"_"" "51=1>"0"1 B"0"_"" "51
?& #1@0018& #00_"" "51="1A  1
"  _"" "51!19#10#_"" "51#"16 1
C  516#1781C8 51"1!&&"00#1
0&&"00# 51!B "$1;C1K0B " :051<  $1D1
&2   :051E0"$1F010" :01
GHI471@,19;.JA 21!K"1L1. 17 1
11
                            ·¸¹/¸º»M¼8̧½M¾¼8¿4568IH544ÀÁÁ5Â N6 5ÃGÄ456Å1
21
",111                                                                                      1
11
> ê 1B "1210"1221"110 121!ê01 :0"01<"1"1&KK" 1_C#1"1&1 "1
012"8 111
11
W&"C011

1                                           9
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15    Main Document
                                    Pg 66 of 121


XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
9 1E1 1
W$1!1L1!199;1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
1
A 1W,1T)')U1)*'R]Z^'1
%,11T]-]U1Z')R)*(\1
<V,1T)')U1\]^R-)Z+11
1
BBBB21
11
7"1% 1^$1)*))$11],-+1;%$1""1<"0"1""2"0"_"" "1B ,1
11
!ê01&"01 1K11<>11W&01B112 1 B411
11
"1<"0"1
T\'^U1+-]R())+1
2T]('U1Z**R*+-^1
11
3456719:"0"$1!"#1;10:"0" :011
71%" #$1% &1^$1)*))1-,-+1;%1
/5719 1 1  1
3471""1<"0"1""2"0"_"" "51.0& 1122"1
0& 22"_"" "5190"1122"10"22"_"" "51=1>"0"1
 B"0"_"" "51?& #1@0018& #00_"" "51="1
A  1"  _"" "51!19#10#_"" "51#"1
6 1C  516#1781C8 51"1!&&"00#1
0&&"00# 51!B "$1;C1K0B " :051<  $1D1
&2   :051E0"$1F010" :01
GHI471@=,19;.JA 21!K"1L1. 17 1
11
                          ·¸¹/¸º»M¼8̧½M¾¼8¿4568PÁÏÀP5ÂÇHÏ5ÀPÄ456Å1
21
9 111                                                                                 1
11
71 :0"011&1: 0"121&1 1 1#1"1  1 #1 1& 1T "1" 1
C"U$1B&&1"K 01&1&"01F10"11#101> "0 #11; 011 1C"B121#1&:1
_0"011B "110001
11
W&"C0$1!1
11
11
11

1                                        
2
21-12075-dsj        Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15                     Main Document
                                             Pg 67 of 121


~áâã~äå1
                  Y1ß1Y1«×ª2æ2ß´Øª2ÔÔß1Y1×ª²Ñ«×ªµª´1Y1ç§2­§­2è¨è2
¥è§£Y1¶¶¶µÑ«×ªµª´1
11
3456719:"0"$1!"#1;11
71%" #$1% &1^$1)*))1','^1;%1
/5719 1 1  1
3471""1<"0"1""2"0"_"" "51.0& 1122"1
0& 22"_"" "5190"1122"10"22"_"" "51=1>"0"1
 B"0"_"" "51?& #1@0018& #00_"" "51="1
A  1"  _"" "51!19#10#_"" "51#"1
6 1C  516#1781C8 51"1!&&"00#1
0&&"00# 51!B "$1;C1K0B " :051<  $1D1
&2   :051E0"$1F010" :01
GHI471@,19;.JA 21!K"1L1. 17 1
11
W&"C019 1"1B111!11
  HÏ5ÀP88
Ê8ËÁÀ6 581
ÀÇ8ËÄ8¼ÏÀP51
; " 1
11
0:"0" :01
'1)')1\*\1]\'(1TWU1
11
BBB :01
11
W&01R 1 00101"" 1"#121&10121&1":11"#11B&&1101 00 1"11
 #1""1"2 "1&101K: $1"2 "1"1VK12100 1F21#1 1"1&1
"" 1 K"$1K 011"100"$1011K#1&01""$1#1R 11
& B01F"0 $1K 01"2#101 #1#1 "1R 1T""1&1"1 001"1#1
   K#U1"1#1K&"1T#1 #11011"1S B1[C11'R)')R\*\R]***U1" 1&"1 1" 1
  0 11K0121&1R 1W&"C1#11
W&101: 0"1211;:#1;#$1B&&1" 01"2 "11&B1B 1$101" 1
K1K 0"1 $1011BBB :01
11
11
11
7"1% 1^$1)*))$11','-1;%$19 1 1  1B ,1
1!,1
11
F21F1 1#1KK0 1&"0$11B 01""""11; 01" 1&1"1&1 "1#10"1
: 1&012 ""11
11

1                                                      
2
21-12075-dsj   Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                      Pg 68 of 121


W&"C01
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
9 1E1 1
W$1!1L1!199;1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
1
A 1W,1T)')U1)*'R]Z^'1
%,11T]-]U1Z')R)*(\1
<V,1T)')U1\]^R-)Z+11
1
BBBB21
11
7"1% 1^$1)*))$11',*'1;%$19:"0"$1!"#1;10:"0" :01B ,1
11
.12B$1B ê10"1: 1&012 ""11[1" 11KK0 1&"011;  K&1)10"101B C$1
 "#1 0"121&411.0$1K 01K#11 1TK 1"1&01 U1"1&01 011W&"C0$1!1
11
~áâã~äå1
                  Y1ß1Y1«×ª2æ2ß´Øª2ÔÔß1Y1×ª²Ñ«×ªµª´1Y1ç§2­§­2è¨è2
¥è§£Y1¶¶¶µÑ«×ªµª´1
11
3456719 1 1  11
71%" #$1% &1^$1)*))1'),()1;%1
/5719:"0"$1!"#1;10:"0" :01
3471""1<"0"1""2"0"_"" "51.0& 1122"1
0& 22"_"" "5190"1122"10"22"_"" "51=1>"0"1
 B"0"_"" "51?& #1@0018& #00_"" "51="1
A  1"  _"" "51!19#10#_"" "51#"1
6 1C  516#1781C8 51"1!&&"00#1
0&&"00# 1
GHI471@,19;.JA 21!K"1L1. 17 1
11
!,111
11
A1#1&:1"#1 "011&10K"411
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
9 1E1 1
W$1!1L1!199;1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
1
A 1W,1T)')U1)*'R]Z^'1
%,11T]-]U1Z')R)*(\1
<V,1T)')U1\]^R-)Z+11
1
BBBB21

1                                           Í
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15     Main Document
                                    Pg 69 of 121


11
7"1% 1^$1)*))$11'',-(1.%$1""1<"0"1""2"0"_"" "1B ,1
11
F1"ê1C"B11A :01"1"ê1C"B1&B10#1#1CK1&1"1&1K1: 1&1B C"1
01"10 121&#1" 1 11
> 1 11T00"1"1 "0121&10101K"1KK""0U1
11
ìíî0ïðîíñòóîí0
ôõôö÷øùöúûøõ0üýýðþí0
ùõúö÷ø0öûôô÷01ó2ð3í1
11
3456719 1 1  11
71%" #$1% &1^$1)*))1'',-'1.%1
/571""1<"0"1""2"0"_"" "1
34719:"0"$1!"#1;10:"0" :051.0& 1122"10& 22"_"" "51
90"1122"10"22"_"" "51=1>"0"1 B"0"_"" "51
?& #1@0018& #00_"" "51="1A  1
"  _"" "51!19#10#_"" "51#"16 1
C  516#1781C8 51"1!&&"00#1
0&&"00# 1
GHI471@,19;.JA 21!K"1L1. 17 1
11
                            ·¸¹/¸º»M¼8̧½M¾¼8¿4568IH544ÀÁÁ5Â N6 5ÃGÄ456Å1
21
",11                                                                                  1
11
> ê 12"1B&1#1KK0 1&"011. 1& 1"#1 1 "0121Ì""11A :0411F21
"$1FÎ11"1V"1: 0"11.1&01 0 : 11
11
11
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
9 1E1 1
W$1!1L1!199;1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
1
A 1W,1T)')U1)*'R]Z^'1
%,11T]-]U1Z')R)*(\1
<V,1T)')U1\]^R-)Z+11
1
BBBB21
11
7"1% 1^$1)*))$11'',(]1.%$1""1<"0"1""2"0"_"" "1B ,1
11
1                                        é
2
21-12075-dsj   Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15     Main Document
                                     Pg 70 of 121


B&101&1"K 1"1"1&04111
11
ìíî0ïðîíñòóîí0
ôõôö÷øùöúûøõ0üýýðþí0
ùõúö÷ø0öûôô÷01ó2ð3í1
11
345671""1<"0"11
71%" #$1% &1^$1)*))1\,(]1.%1
/5719 1 1  519:"0"$1!"#1;10:"0" :01
3471.0& 1122"10& 22"_"" "5190"1122"10"22"_"" "51
=1>"0"1 B"0"_"" "51?& #1@0018& #00_"" "51
="1A  1"  _"" "51!19#10#_"" "51
#"16 1C  516#1781C8 51"1!&&"00#1
0&&"00# 1
GHI471@=,19;.JA 21!K"1L1. 17 1
11
0 1"1 "011&1KK0 12"11!110 "1& 1 "0$111
11
11
ìíî0ïðîíñòóîí0
ôõôö÷øùöúûøõ0üýýðþí0
ùõúö÷ø0öûôô÷01ó2ð3í1
11
3456719 1 1  11
71!" #$1% &1]$1)*))1+,(*1;%1
/5719:"0"$1!"#1;10:"0" :01
3471""1<"0"1""2"0"_"" "51.0& 1122"1
0& 22"_"" "5190"1122"10"22"_"" "51=1>"0"1
 B"0"_"" "51?& #1@0018& #00_"" "51="1
A  1"  _"" "51!19#10#_"" "51#"1
6 1C  516#1781C8 51"1!&&"00#1
0&&"00# 1
GHI471@,19;.JA 21!K"1L1. 17 1
11
                          ·¸¹/¸º»M¼8̧½M¾¼8¿4568IH544ÀÁÁ5Â N6 5ÃGÄ456Å1
21
!,111                                                                                   1
11
; 010 1& 11
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
9 1E1 1
W$1!1L1!199;1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
1
A 1W,1T)')U1)*'R]Z^'1
1                                         ë
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15    Main Document
                                    Pg 71 of 121


%,11T]-]U1Z')R)*(\1
<V,1T)')U1\]^R-)Z+11
1
BBBB21
11
7"1% 1]$1)*))$11+,'*1;%$19:"0"$1!"#1;10:"0" :01B ,1
11
9 1R1"1#1K 010"11C"1"01&101: 0"1 411W&"C0$1!1
  HÏ5ÀP88
Ê8ËÁÀ6 581
ÀÇ8ËÄ8¼ÏÀP51
; " 1
11
0:"0" :01
'1)')1\*\1]\'(1TWU1
11
BBB :01
11
W&01R 1 00101"" 1"#121&10121&1":11"#11B&&1101 00 1"11
 #1""1"2 "1&101K: $1"2 "1"1VK12100 1F21#1 1"1&1
"" 1 K"$1K 011"100"$1011K#1&01""$1#1R 11
& B01F"0 $1K 01"2#101 #1#1 "1R 1T""1&1"1 001"1#1
   K#U1"1#1K&"1T#1 #11011"1S B1[C11'R)')R\*\R]***U1" 1&"1 1" 1
  0 11K0121&1R 1W&"C1#11
W&101: 0"1211;:#1;#$1B&&1" 01"2 "11&B1B 1$101" 1
K1K 0"1 $1011BBB :01
11
11
11
7"1% 1]$1)*))$11Z,--1;%$19 1 1  1B ,1
11
11
A 1Ì""1 1"1!,1
11
W&1 210K"1"1 1 101& 121#1 :B1> 1 1 01"1 1 "1
""R00":1 01T$1 2" 1 01"1 "1KU1"1"122112 81&1 1K"1C#1
0K"1K"01.1211 01B 1"" 101" 1
11
; 01 :B1"1101C"B121#1&:1"#1 011B1C110001W&01 21  "0101
1""1 :B1"1"1KK:1.1&01 0 : 111
11

1                                        5
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 72 of 121


11
XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX1
ÆN4Ç83Ä8È544ÀÁÁ51
/5ÃGÉ8ÃNÁ8Ê8ÃNÁ8¼¼Ë1
7"1;""1;81Y1!1(((Z1Y1S B1[C$1S[1'*''\1
  1
11
A 1W,1T)')U1)*'R]Z^'1
<V,1T)')U1\]^R-)Z+11
BBBB21
!K"1"1. 17 1TW1A 21(R]R))UV1
11
))*(*+XQK  1!K"1"1. 17 V1
11
))*(*+XQK  1!K"1"1. 17 V))*(''XQK  1 21"0"1
 X "V0
1
0




1                                       6
2
21-12075-dsj     Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15                   Main Document
                                          Pg 73 of 121




          Updated Stipulation and Agreed Order - Final (3-13-22).docx (63KB)1




   1
       The attachment was electronically mailed on Sunday, March 13, 2022, at 08:04, from Jared Borriello
       to Asher Griffin. Sidney P. Levinson was copied and addressed in this correspondence.
21-12075-dsj       Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15                Main Document
                                            Pg 74 of 121



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                     Chapter 11

JPA NO. 111 CO., LTD. and                                  Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                           (Jointly Administered)

                         Debtors.1


JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                          Plaintiffs,
                                                           Adv. Pro. No. 22-01004 (DSJ)
v.

FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED,

                          Defendant.


FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED.,

                          Plaintiff,
                                                           Adv. Pro. No. 22-01006 (DSJ)
v.

JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                          Defendants.




1
     The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The Debtors’
     corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki, Chiyoda-Ku, Tokyo 100-
     0013.
21-12075-dsj      Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15              Main Document
                                         Pg 75 of 121



                            STIPULATION AND AGREED ORDER

       This Stipulation and Agreed Order (“Stipulation & Order”) is entered into by and among:

(a) the above-captioned debtors and debtors in possession (the “Debtors”); (b) the undesigned JP

Lease Products & Services Co. Ltd. (“JPL”); (c) the undersigned JLPS Ireland Limited (“JLPS”);

(d) the undersigned JLPS Leasing Draco Limited f/k/a DAE Leasing (Ireland) 12 Limited

(“JLPS Draco”); (e) JLPS Leasing Uranus Limited f/k/a PAAL Uranus Company Limited

(“JLPS Uranus” and, together with JLPS Draco, the “Intermediate Lessors”); and (f) the

undersigned FitzWalter Capital Partners (Financial Trading) Limited (“FitzWalter”). Each of the

persons or entities identified in the foregoing clauses (a) through (f) shall be referred to herein

individually as a “Party” and, collectively, as the “Parties.”

                                              Recitals

       WHEREAS, the Debtors commenced their chapter 11 cases (the “Chapter 11 Cases”) on

December 17, 2021;

       WHEREAS, on December 31, 2021, the Debtors filed their Debtors’ Application for

Entry of Orders: (I)(A) Approving Bidding Procedures Relating to the Sale of Substantially All

of the Debtors’ Assets; (B) Establishing Stalking Horse Bidders and Bid Protections;

(C) Approving Procedures for the Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases; (D) Authorizing Enforcement Actions; (E) Scheduling an Auction and a

Sale Hearing; and (F) Approving the Form and Manner of Notice Thereof; and (II)(A)

Approving the Sale of the Purchased Assets Free and Clear of All Liens, Claims, Interests, and

Encumbrances; and (B) Granting Related Relief [Docket No. 21] (the “Sale Motion”);

       WHEREAS, on February 4, 2022, the Court entered the Bidding Procedures Order

[Docket No. 101, and corrected at Docket No. 102], which, among other things, scheduled a




                                                  2
21-12075-dsj        Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15          Main Document
                                         Pg 76 of 121



hearing to consider approval of the Debtors’ proposed sale(s) for March 14, 2022 at 11:00 a.m.

(ET) (the “Sale Hearing”);

       WHEREAS, on February 28, 2022, the Debtors filed their Motion of The Debtors For

Entry of An Order (I) Determining Secured Claims of Prepetition Credit Facilities or (II) In the

Alternative, Estimating Amount of Claims Asserted By FitzWalter Capital Partners (Financial

Trading) Limited And Its Affiliates [Docket No. 136] (the “Estimation Motion”). A hearing on

the Estimation Motion is scheduled concurrently with the Sale Hearing;

       WHEREAS, on January 21, 2022, FitzWalter filed claims against JPL, JLPS, the

Intermediate Lessors, and Heinrich Loechteken in the High Court of England and Wales,

Queen’s Bench Division, Media and Communications List under Claim No: QB-2022-000199

(the “London Litigation”), and has also undertaken certain other actions against JPL, JLPS, the

Intermediate Lessors, and Mr. Loechteken in Japan (the “Japanese Dispute”) and Ireland (the

“Irish Dispute”);

       WHEREAS, on February 14, 2022, the Debtors commenced Adversary Proceeding

No. 22-01004-djs (“Debtors’ Adversary Proceeding”) against FitzWalter, by filing their

Complaint for Declaratory Judgment and Injunctive Relief, Recovery of Damages and Related

Relief [Adv. Pro. No. 22-01004, Docket No. 1] (“Debtors’ Adversary Complaint”);

       WHEREAS, on February 15, 2022, the Debtors filed their Motion for Injunctive Relief

and Sanctions [Adv. Pro. No. 22-01004, Docket No. 3] (the “Motion for Injunctive Relief”);

       WHEREAS, on February 17, 2022, FitzWalter commenced Adversary Proceeding

No. 22-01006-dsj (“FitzWalter’s Adversary Proceeding” and, together with the Debtors’

Adversary Proceeding, the “Adversary Proceedings”) against the Debtors, by filing its Complaint

for Declaratory Judgment [Adv. Pro. No. 22-01006, Docket No. 1] (“FitzWalter’s Adversary




                                                3
21-12075-dsj      Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15             Main Document
                                         Pg 77 of 121



Complaint”, and together with the Debtors’ Adversary Complaint, the “Adversary Complaints”);

and

        WHEREAS, on March 7, 2022, JPL and JLPS filed an application challenging the

jurisdiction of the High Court of England and Wales in the London Litigation.

        NOW, THEREFORE, to facilitate the orderly adjudication of the Sale Motion and the

Estimation Motion, including certain discovery and evidentiary disputes among the parties, and

to maintain the status quo in the London Litigation, the Japanese Dispute, and the Irish Dispute

as set forth herein,

IT IS THEREFORE STIPULATED AND AGREED:

        1.      The Debtors agree to adjourn, sine die their Motion for Injunctive Relief. In

return for same, the Parties, Mr. Loechteken, and all of the Debtors’ other affiliates stipulate and

agree that they will take no further action to prosecute or defend any actions outside of the

Debtors’ Chapter 11 Cases against each other, or to commence any type of case or proceeding

outside of the Debtors’ Chapter 11 Cases from the date hereof to the following date

(the “Recommencement Date”): (a) the earlier of (i) fourteen (14) days after the entry of the

Court’s ruling on the Sale Motion or (ii) April 15, 2022; or (b) as applicable, the date set by

further order of this Court or as consensually extended in writing by the Parties, which

agreement shall include, but not be limited to, pausing the prosecution and defense of the claims

filed by FitzWalter in the London Litigation, the Japanese Dispute, and the Irish Dispute. The

Parties will, subject to any order of the courts of England, Japan, Ireland or any other relevant

jurisdiction, work collaboratively to extend any pending deadlines in any of the ongoing disputes

so as not to prejudice the interests of any of the Parties because of this Stipulation, including by

FitzWalter, JPL, JLPS, JLPS Draco and JLPS Uranus signing and filing a Consent Order in the




                                                  4
21-12075-dsj       Doc 175      Filed 03/18/22 Entered 03/18/22 18:04:15           Main Document
                                           Pg 78 of 121



London Litigation in the form expressed in Schedule 1 hereto (the “English Consent Order”),

and, in conjunction therewith, if the Recommencement Date has not occurred by April 22, 2022,

then the signatories to the English Consent Order agree to submit a revised consent order to the

English court that reasonably reflects the further period through which the foregoing stay of

proceedings will remain in effect. FitzWalter expressly agrees and acknowledges that nothing in

this Stipulation & Order is intended to be or shall be treated as a submission by any person or

entity to the jurisdiction of the English court in the London Litigation and further that each of

JPL, JLPS, the Intermediate Lessors and Mr. Loechteken maintain and reserve any right to

challenge jurisdiction and apply after the Recommencement Date to set aside or dismiss any

claims and/or orders made in the London Litigation on any grounds that are or may be available

to them at law. This Stipulation & Order does not constitute (and FitzWalter will make no

attempt in the London Litigation to refer to or rely upon this Stipulation & Order) as a

submission to jurisdiction and/or a waiver of any right, claim, action or remedy by JPL, JLPS,

the Intermediate Lessors or Mr. Loechteken, all of which rights, claims, actions and remedies are

fully reserved and preserved.

       2.      The deadline to file an answer or otherwise move with respect to the Adversary

Complaints shall be either (i) fourteen (14) days after the entry of the Court’s order resolving the

Sale Motion or (ii) the date set by further order of this Court or as consensually extended in

writing by the Parties.

       3.      Discovery in the Adversary Proceedings will be stayed until the earlier of (i) the

Court’s ruling on the Sale Motion or (ii) April 15, 2022 (or such later date as agreed in writing

by the Parties).




                                                 5
21-12075-dsj       Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15               Main Document
                                          Pg 79 of 121



       4.        Except as set forth in Paragraph 5, for the purposes of the Sale Hearing, currently

scheduled for March 14, 2022, the Parties shall not present or seek the admission of evidence at

the Sale Hearing concerning the claims that FitzWalter has asserted in the London Litigation, the

Japanese Dispute, or the Irish Dispute (the “Unliquidated Claims”), except for the existence of

the Unliquidated Claims. For the avoidance of doubt, claims related to professional fees and

management time fees are not covered by this paragraph; provided, however, the facts that will

be considered by the Court with respect to the challenge to FitzWalter’s professional fees shall

be limited to (in addition to any other facts stipulated to by the Parties):

            i.   the Debtors filed for chapter 11 relief;

          ii.    the term sheet, stalking asset purchase agreement, and the terms thereof [Docket
                 No. 58], pursuant to which the Debtors have predicated their request for approval
                 to sell certain assets [Docket No. 21] and the fact that the Debtors have alleged
                 that all Secured Obligations (as provided for, or not, by the term sheet) will be
                 paid in full;

         iii.    the documents governing the Debtors’ Secured Obligations and the rights and
                 obligations related thereto including enforcement thereof; and

         iv.     the commencement by FitzWalter of the London Litigation and the existence of
                 the Japanese Dispute and the Irish Dispute.

                 It is further agreed and acknowledged that FitzWalter is not seeking allowance of

their professional fees at the Sale Hearing; rather, FitzWalter is responding to certain arguments

advanced by the Estimation Motion and, thus, subject to the foregoing challenges, FitzWalter is

not subject to any burden of proof with respect to the allowance of such expenses at the Sale

Hearing and reserves its rights to seek allowance of such expenses in these Chapter 11 Cases.

                 FitzWalter and the Intermediate Lessors reserve their rights to object to the

admissibility of any facts, other than as provided for herein, at the Sale Hearing.




                                                   6
21-12075-dsj        Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15            Main Document
                                          Pg 80 of 121



       5.        For the purposes of the Sale Hearing and the hearing on the Estimation Motion,

both of which are scheduled for March 14, 2022, the issues presented to the Court concerning the

Unliquidated Claims will be limited to whether the Unliquidated Claims constitute claims, as

defined in the Bankruptcy Code, or Secured Obligations as that term is defined in the Proceeds

Agreements, and whether the Unliquidated Claims, as alleged, are sufficient as a matter of law

under the Transaction Documents and the Bankruptcy Code; provided that if further discovery is

deemed required to address any such matters, then such matters shall be determined in

conjunction with the Continued Hearing (as defined below).

       6.        Despite exchanging discovery requests, because of the limited scope of the issues

being presented to the Court at the Sale Hearing concerning the Unliquidated Claims, the Parties

need not produce documents related to the factual merits of the Unliquidated Claims in advance

of the Sale Hearing. Nothing in this paragraph shall affect discovery for matters not related to

the Unliquidated Claims, subject to the Parties’ objections.

       7.        Despite exchanging deposition notices, because of the limited scope of the issues

being presented to the Court at the Sale Hearing concerning the Unliquidated Claims, the Parties

need not present witnesses for deposition related to the merits of the Unliquidated Claims in

advance of the Sale Hearing.

       8.        To the extent the Court determines, by bench ruling or written order, that further

factual or legal determination with respect to any matter in respect of the Unliquidated Claims

outside the limitations of Paragraph 5 is necessary, as FitzWalter asserts, the Parties stipulate and

agree as follows:

            i.   The Sale Hearing will be continued to and start on a date set by this Court after
                 such ruling or order, and will continue, as necessary, from day to day in each case
                 as set by the Court and as may be extended by the Court as the Court’s schedule
                 permits, so the Court may hold an evidentiary hearing to determine (or estimate)



                                                  7
21-12075-dsj     Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15             Main Document
                                        Pg 81 of 121



               the amounts (if any) of the Unliquidated Claims (the “Continued Hearing”); in
               this regard, (a) the Debtors believe that the date of the Continued Hearing should
               be set no later than ten (10) days after the Sale Hearing, especially as the Stalking
               Horse Bidder has not consented to the postponement of the conclusion of the Sale
               adjudication (and “time is of the essence” is both a condition precedent in their
               stalking horse bid and in the Bidding Procedures); and (b) FitzWalter believes that
               such Continued Hearing should be held, consistent with general considerations
               and interests of due process, no earlier than April 13, 2022, especially given
               FitzWalter’s view of the discovery needed for such Continued Hearing and the
               fact that the other Parties have not provided such discovery;

         ii.   The Parties shall produce documents responsive to the outstanding discovery
               requests and any additional materials requested by the Court related to matters to
               be addressed at the Continued Hearing no later than five (5) days after such ruling
               or order;

        iii.   The depositions of fact and expert witnesses shall be completed not less than five
               (5) days before the Continued Hearing; and

        iv.    The Parties shall file and serve their supplemental briefs and any accompanying
               declarations four (4) days before the Continued Hearing. The same deadline shall
               apply to any supporting party’s or objecting party’s joinders or statements in
               support or opposition to the Proposed Sale. No replies shall be permitted.

       9.      The deadline for FitzWalter to object to Debtors’ Estimation Motion shall be

March 10, 2022, at 12:00 p.m. (ET).

       10.     The undersigned hereby represent and warrant that, they have full authority to

execute this Stipulation & Order on behalf of the respective Parties and that the respective

Parties have full knowledge of and have consented to this Stipulation & Order.

       11.     The Parties shall not alter or modify this Stipulation & Order, except through an

agreement of all Parties (which may be through email between counsel) or by order of the Court.

       12.     This Stipulation & Order may be executed and delivered (including by email or

facsimile) in one or more counterparts, and by the different Parties hereto in separate

counterparts, each of which when executed will be deemed to be an original, but all of which

taken together will constitute one and the same agreement.




                                                 8
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15      Main Document
                                    Pg 82 of 121



Dated:


                                      HONORABLE DAVID S. JONES
                                      UNITED STATES BANKRUPTCY JUDGE


IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD


Dated: New York, New York
       March13, 2022

                               [/s/ Jared C. Borriello][DRAFT]
                               TOGUT, SEGAL & SEGAL LLP

                               Frank A. Oswald
                               Kyle J. Ortiz
                               Brian F. Shaughnessy
                               Jared C. Borriello
                               One Penn Plaza, Suite 3335
                               New York, New York 10119
                               Telephone: (212) 594-5000
                               Email: frankoswald@teamtogut.com
                                       kortiz@teamtogut.com
                                       bshaughnessy@teamtogut.com
                                       jborriello@teamtogut.com

                               Counsel to the Debtors and Debtors in Possession




                                         9
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                    Pg 83 of 121



Dated: New York, New York
       March __, 2022

                               VEDDER PRICE P.C.

                               Michael J. Edelman
                               Jeremiah Vandermark
                               1633 Broadway, 31st Floor
                               New York, NY 10019
                               Telephone: (212) 407-7700
                               Email: MJEdelman@VedderPrice.com
                                       JVandermark@VedderPrice.com

                               Counsel to JP Lease Products & Services Co., Ltd., and
                               JLPS Ireland Limited




                                        10
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15       Main Document
                                    Pg 84 of 121



Dated: New York, New York
       March __, 2022

                               DEBEVOISE & PLIMPTON LLP

                               Sidney P. Levinson
                               Isabella M. Cusano
                               919 Third Avenue
                               New York, NY 10022
                               Telephone: (212) 909-6000
                               Facsimile: (212) 9090-6836
                               Email: slevinson@debevoise.com
                                        imcusano@debevoise.com

                               Counsel to JLPS Leasing Uranus Limited
                               and JLPS Leasing Draco Limited




                                        11
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15      Main Document
                                    Pg 85 of 121



Dated: March __, 2022

                               QUINN EMANUEL URQUHART & SULLIVAN, LLP

                               Benjamin I. Finestone
                               Zachary R. Russell
                               51 Madison Avenue, Fl. 22
                               New York, NY 10010
                               Telephone: (212) 849-7000
                               Facsimile: (212) 849-7100
                               Email: benjaminfinestone@quinnemanuel.com
                                       zacharyrussell@quinnemanuel.com

                               Justin C. Griffin (pro hac vice)
                               Eric Winston (pro hac vice)
                               865 South Figueroa Street, Fl. 10
                               Los Angeles, CA 90017
                               Telephone: (213) 443-3000
                               Email: justingriffin@quinnemnauel.com
                                        ericwinston@quinnemanuel.com

                               Asher B. Griffin (pro hac vice)
                               300 West 6th Street, Suite 2010
                               Austin, TX 78710
                               Telephone: (737) 667-6103
                               Email: ashergriffin@quinnemnauel.com

                               Counsel to FitzWalter Capital
                               Partners (Financial Trading) Limited




                                        12
21-12075-dsj     Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15          Main Document
                                        Pg 86 of 121



                                        SCHEDULE 1

IN THE HIGH COURT OF JUSTICE Claim No. QB-2022-000199
QUEEN’S BENCH DIVISION
MEDIA AND COMMUNICATIONS LIST

Before:
Dated:

BETWEEN

      FITZWALTER CAPITAL PARTNERS (FINANCIAL TRADING) LIMITED
                                                           Claimant
                               And

                     (1) JP LEASE PRODUCTS & SERVICES LIMITED
                                 (2) JLPS IRELAND LIMITED
                             (3) JLPS LEASING DRACO LIMITED
                            (4) JLPS LEASING URANUS LIMITED
                                 (5) HEINRICH LOECHTEKEN
                                                                                     Defendants


                                        [Draft] ORDER




UPON the Court having power to stay proceedings by CPR 3.1(2)(f),

UPON the Claimant having filed an application for alternative service on the First to Fourth
Defendants and permission to serve the Fifth Defendant out of the jurisdiction,

UPON the First and Second Defendants having filed an application to challenge the Court’s
jurisdiction under CPR 11,

UPON the Order of Mr Justice Nicklin dated 8 March 2022 (the “8 March Order”),

AND UPON the Claimant and the First to Fourth Defendants having agreed to stay these
proceedings,

BY CONSENT IT IS ORDERED THAT:
1. These proceedings are stayed until 22 April 2022.
21-12075-dsj       Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15           Main Document
                                            Pg 87 of 121



2.    The 8 March Order is varied as follows:

        (a) the dates referred to at paragraph 1 are extended to 7 June 2022 and 21 December
            2022 respectively;

        (b) the date referred to at paragraph 2 is extended to 29 April 2022;

        (c) the date referred to at paragraph 3 is extended to 13 May 2022;

        (d) the date referred to at paragraph 4 is extended to 27 May 2022; and

        (e) the date referred to at paragraph 11 is extended to 29 April 2022.



3.    The First to Fourth Defendants shall not be deemed to have submitted to the jurisdiction of
      the Court by agreeing to the terms covered by this order.

4.    There shall be no order as to costs.

Dated this     day of                  2022
We consent to an order being made in the above terms

Signed:                                       Signed:

……………………………                                   ………………………………
Quinn Emanuel Urquhart & Sullivan LLP         Alius Law
For and on behalf of the Claimant             For and on behalf of the First and Second Defendants
                                              (without prejudice to jurisdiction)




Signed:                                       Signed:

……………………………                                   ………………………………
JLPS Leasing Draco Limited                    JLPS Leasing Uranus Limited
(without prejudice to jurisdiction)           (without prejudice to jurisdiction)




                                                 2
21-12075-dsj     Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15                   Main Document
                                          Pg 88 of 121




       Updated Stipulation and Agreed Order - REDLINE (3-13-22).docx (63 KB)2




   2
       The attachment was electronically mailed on Sunday, March 13, 2022, at 08:04, from Jared Borriello
       to Asher Griffin. Sidney P. Levinson was copied and addressed in this correspondence.
     21-12075-dsj           Doc 175          Filed 03/18/22 Entered 03/18/22 18:04:15                         Main Document
                                                        Pg 89 of 121




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                     Chapter 11

JPA NO. 111 CO., LTD. and                                  Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                           (Jointly Administered)

                         Debtors.1


JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                          Plaintiffs,
                                                           Adv. Pro. No. 22-01004 (DSJ)
v.

FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED,

                          Defendant.


FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED.,

                          Plaintiff,
                                                           Adv. Pro. No. 22-01006 (DSJ)
v.

JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                          Defendants.




1
     The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The Debtors’
     corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki, Chiyoda-Ku, Tokyo 100-
     0013.                                                                                                    Formatted: Tab stops: Not at 6.5"



03958-61590/13226370.1
   21-12075-dsj           Doc 175         Filed 03/18/22 Entered 03/18/22 18:04:15                    Main Document
                                                     Pg 90 of 121




                            STIPULATION AND AGREED ORDER

       This Stipulation and Agreed Order (“Stipulation & Order”) is entered into by and among:

(a) the above-captioned debtors and debtors in possession (the “Debtors”); (b) the undesigned JP

Lease Products & Services Co. Ltd. (“JPL”); (c) the undersigned JLPS Ireland Limited (“JLPS”);

(d) the undersigned JLPS Leasing Draco Limited f/k/a DAE Leasing (Ireland) 12 Limited

(“JLPS Draco”); (e) JLPS Leasing Uranus Limited f/k/a PAAL Uranus Company Limited

(“JLPS Uranus” and, together with JLPS Draco, the “Intermediate Lessors”); and (f) the

undersigned FitzWalter Capital Partners (Financial Trading) Limited (“FitzWalter”). Each of the

persons or entities identified in the foregoing clauses (a) through (f) shall be referred to herein

individually as a “Party” and, collectively, as the “Parties.”

                                                Recitals

       WHEREAS, the Debtors commenced their chapter 11 cases (the “Chapter 11 Cases”) on

December 17, 2021;

       WHEREAS, on December 31, 2021, the Debtors filed their Debtors’ Application for

Entry of Orders: (I)(A) Approving Bidding Procedures Relating to the Sale of Substantially All

of the Debtors’ Assets; (B) Establishing Stalking Horse Bidders and Bid Protections;

(C) Approving Procedures for the Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases; (D) Authorizing Enforcement Actions; (E) Scheduling an Auction and a

Sale Hearing; and (F) Approving the Form and Manner of Notice Thereof; and (II)(A)

Approving the Sale of the Purchased Assets Free and Clear of All Liens, Claims, Interests, and

Encumbrances; and (B) Granting Related Relief [Docket No. 21] (the “Sale Motion”);

       WHEREAS, on February 4, 2022, the Court entered the Bidding Procedures Order

[Docket No. 101, and corrected at Docket No. 102], which, among other things, scheduled a

                                                                                                      Formatted: Centered



                                          03958-61590/13226370.1   2
   21-12075-dsj          Doc 175        Filed 03/18/22 Entered 03/18/22 18:04:15                   Main Document
                                                   Pg 91 of 121




hearing to consider approval of the Debtors’ proposed sale(s) for March 14, 2022 at 11:00 a.m.

(ET) (the “Sale Hearing”);

       WHEREAS, on February 28, 2022, the Debtors filed their Motion of The Debtors For

Entry of An Order (I) Determining Secured Claims of Prepetition Credit Facilities or (II) In the

Alternative, Estimating Amount of Claims Asserted By FitzWalter Capital Partners (Financial

Trading) Limited And Its Affiliates [Docket No. 136] (the “Estimation Motion”). A hearing on

the Estimation Motion is scheduled concurrently with the Sale Hearing;

       WHEREAS, on January 21, 2022, FitzWalter filed claims against JPL, JLPS, the

Intermediate Lessors, and Heinrich Loechteken in the High Court of England and Wales,

Queen’s Bench Division, Media and Communications List under Claim No: QB-2022-000199

(the “London Litigation”), and has also undertaken certain other actions against JPL, JLPS, the

Intermediate Lessors, and Mr. Loechteken in Japan (the “Japanese Dispute”) and Ireland (the

“Irish Dispute”);

       WHEREAS, on February 14, 2022, the Debtors commenced Adversary Proceeding

No. 22-01004-djs (“Debtors’ Adversary Proceeding”) against FitzWalter, by filing their

Complaint for Declaratory Judgment and Injunctive Relief, Recovery of Damages and Related

Relief [Adv. Pro. No. 22-01004, Docket No. 1] (“Debtors’ Adversary Complaint”);

       WHEREAS, on February 15, 2022, the Debtors filed their Motion for Injunctive Relief

and Sanctions [Adv. Pro. No. 22-01004, Docket No. 3] (the “Motion for Injunctive Relief”);

       WHEREAS, on February 17, 2022, FitzWalter commenced Adversary Proceeding

No. 22-01006-dsj (“FitzWalter’s Adversary Proceeding” and, together with the Debtors’

Adversary Proceeding, the “Adversary Proceedings”) against the Debtors, by filing its Complaint

for Declaratory Judgment [Adv. Pro. No. 22-01006, Docket No. 1] (“FitzWalter’s Adversary

                                                                                                   Formatted: Centered



                                        03958-61590/13226370.1   3
   21-12075-dsj           Doc 175         Filed 03/18/22 Entered 03/18/22 18:04:15                     Main Document
                                                     Pg 92 of 121




Complaint”, and together with the Debtors’ Adversary Complaint, the “Adversary Complaints”);

and

        WHEREAS, on March 7, 2022, JPL and JLPS filed an application challenging the

jurisdiction of the High Court of England and Wales in the London Litigation.

        NOW, THEREFORE, to facilitate the orderly adjudication of the Sale Motion and the

Estimation Motion, including certain discovery and evidentiary disputes among the parties, and

to maintain the status quo in the London Litigation, the Japanese Dispute, and the Irish Dispute

as set forth herein,

IT IS THEREFORE STIPULATED AND AGREED:

        1.      The Debtors agree to adjourn, sine die their Motion for Injunctive Relief. In

return for same, the Parties, Mr. Loechteken, and all of the Debtors’ other affiliates stipulate and

agree that they will take no further action to prosecute or defend any actions outside of the

Debtors’ Chapter 11 Cases against each other, or to commence any type of case or proceeding

outside of the Debtors’ Chapter 11 Cases from the date hereof to the following date

(the “Recommencement Date”): (a) the earlier of (i) fourteen (14) days after the entry of the

Court’s ruling on the Sale Motion or (ii) April 15, 2022; or (b) as applicable, the date set by

further order of this Court or as consensually extended in writing by the Parties, which

agreement shall include, but not be limited to, pausing the prosecution and defense of the claims

filed by FitzWalter in the London Litigation, the Japanese Dispute, and the Irish Dispute. The

Parties will, subject to any order of the courts of England, Japan, Ireland or any other relevant

jurisdiction, work collaboratively to extend any pending deadlines in any of the ongoing

disputes so as not to prejudice the interests of any of the Parties because of this Stipulation,

including by FitzWalter, JPL, JLPS, JLPS Leasing Draco Limited and JLPS Leasing Uranus

                                                                                                       Formatted: Centered



                                          03958-61590/13226370.1   4
   21-12075-dsj              Doc 175        Filed 03/18/22 Entered 03/18/22 18:04:15                    Main Document
                                                       Pg 93 of 121




Limited signing and filing a Consent Order in the London Litigation in the form expressed in

Schedule 1 hereto (the “English Consent Order”), and, in conjunction therewith, if the

Recommencement Date has not occurred by April 22, 2022, then the signatories to the English

Consent Order agree to submit a revised consent order to the English court that reasonably

reflects the further period through which the foregoing stay of proceedings will remain in effect.

FitzWalter expressly agrees and acknowledges that nothing in this Stipulation & Order is

intended to be or shall be treated as a submission by any person or entity to the jurisdiction of the

English court in the London Litigation and further that each of JPL, JLPS, the Intermediate

Lessors and Mr. Loechteken maintain and reserve any right to challenge jurisdiction and apply

after the Recommencement Date to set aside or dismiss any claims and/or orders made in the

London Litigation on any grounds that are or may be available to them at law. This Stipulation

& Order does not constitute (and FitzWalter will make no attempt in the London Litigation to

refer to or rely upon this Stipulation & Order) as a submission to jurisdiction and/or a waiver of

any right, claim, action or remedy by JPL, JLPS, the Intermediate Lessors or Mr. Loechteken, all

of which rights, claims, actions and remedies are fully reserved and preserved.

        2.         The deadline to file an answer or otherwise move with respect to the Adversary

Complaints shall be either (i) fourteen (14) days after the entry of the Court’s order resolving the

Sale Motion or (ii) the date set by further order of this Court or as consensually extended in

writing by the Parties.

        3.         Discovery in the Adversary Proceedings will be stayed until the earlier of (i) the

Court’s ruling on the Sale Motion or (ii) April 15, 2022 (or such later date as agreed in writing

by the Parties).



                                                                                                        Formatted: Centered



                                            03958-61590/13226370.1   5
   21-12075-dsj             Doc 175         Filed 03/18/22 Entered 03/18/22 18:04:15                    Main Document
                                                       Pg 94 of 121




        4.        Except as set forth in Paragraph 5, for the purposes of the Sale Hearing, currently

scheduled for March 14, 2022, the Parties shall not present or seek the admission of evidence at

the Sale Hearing concerning the claims that FitzWalter has asserted in the London Litigation, the

Japanese Dispute, or the Irish Dispute (the “Unliquidated Claims”), except for the existence of

the Unliquidated Claims. For the avoidance of doubt, claims related to professional fees and

management time fees are not covered by this paragraph; provided, however, the facts that will

be considered by the Court with respect to the challenge to FitzWalter’s professional fees shall

be limited to (in addition to any other facts stipulated to by the Parties):

             i.   the Debtors filed for chapter 11 relief;

          ii.     the term sheet, stalking asset purchase agreement, and the terms thereof [Docket
                  No. 58], pursuant to which the Debtors have predicated their request for approval
                  to sell certain assets [Docket No. 21] and the fact that the Debtors have alleged
                  that all Secured Obligations (as provided for, or not, by the term sheet) will be
                  paid in full;

         iii.     the documents governing the Debtors’ Secured Obligations and the rights and
                  obligations related thereto including enforcement thereof; and

         iv.      the commencement by FitzWalter of the London Litigation and the existence of
                  the Japanese Dispute and the Irish Dispute.

                  It is further agreed and acknowledged that FitzWalter is not seeking allowance of

their professional fees at the Sale Hearing; rather, FitzWalter is responding to certain arguments

advanced by the Estimation Motion and, thus, subject to the foregoing challenges, FitzWalter is

not subject to any burden of proof with respect to the allowance of such expenses at the Sale

Hearing and reserves its rights to seek allowance of such expenses in these Chapter 11 Cases.

                  FitzWalter and the Intermediate Lessors reserve their rights to object to the

admissibility of any facts, other than as provided for herein, at the Sale Hearing.



                                                                                                        Formatted: Centered



                                            03958-61590/13226370.1   6
   21-12075-dsj            Doc 175        Filed 03/18/22 Entered 03/18/22 18:04:15                      Main Document
                                                     Pg 95 of 121




       5.        For the purposes of the Sale Hearing and the hearing on the Estimation Motion,

both of which are scheduled for March 14, 2022, the issues presented to the Court concerning the

Unliquidated Claims will be limited to whether the Unliquidated Claims constitute claims, as

defined in the Bankruptcy Code, or Secured Obligations as that term is defined in the Proceeds

Agreements, and whether the Unliquidated Claims, as alleged, are sufficient as a matter of law

under the Transaction Documents and the Bankruptcy Code; provided that if further discovery is

deemed required to address any such matters, then such matters shall be determined in

conjunction with the Continued Hearing (as defined below).

       6.        Despite exchanging discovery requests, because of the limited scope of the issues

being presented to the Court at the Sale Hearing concerning the Unliquidated Claims, the Parties

need not produce documents related to the factual merits of the Unliquidated Claims in advance

of the Sale Hearing. Nothing in this paragraph shall affect discovery for matters not related to

the Unliquidated Claims, subject to the Parties’ objections.

       7.        Despite exchanging deposition notices, because of the limited scope of the issues

being presented to the Court at the Sale Hearing concerning the Unliquidated Claims, the Parties

need not present witnesses for deposition related to the merits of the Unliquidated Claims in

advance of the Sale Hearing.

       8.        To the extent the Court determines, by bench ruling or written order, that further

factual or legal determination with respect to any matter in respect of the Unliquidated Claims

outside the limitations of Paragraph 5 is necessary, as FitzWalter asserts, the Parties stipulate and

agree as follows:

            i.   The Sale Hearing will be continued to and start on a date set by this Court after
                 such ruling or order, and will continue, as necessary, from day to day in each case
                 as set by the Court and as may be extended by the Court as the Court’s schedule
                 permits, so the Court may hold an evidentiary hearing to determine (or estimate)
                                                                                                        Formatted: Centered



                                          03958-61590/13226370.1   7
   21-12075-dsj          Doc 175         Filed 03/18/22 Entered 03/18/22 18:04:15                      Main Document
                                                    Pg 96 of 121




               the amounts (if any) of the Unliquidated Claims (the “Continued Hearing”); in
               this regard, (a) the Debtors believe that the date of the Continued Hearing should
               be set no later than ten (10) days after the Sale Hearing, especially as the Stalking
               Horse Bidder has not consented to the postponement of the conclusion of the Sale
               adjudication (and “time is of the essence” is both a condition precedent in their
               stalking horse bid and in the Bidding Procedures); and (b) FitzWalter believes that
               such Continued Hearing should be held, consistent with general considerations
               and interests of due process, no earlier than April 13, 2022, especially given
               FitzWalter’s view of the discovery needed for such Continued Hearing and the
               fact that the other Parties have not provided such discovery;

         ii.   The Parties shall produce documents responsive to the outstanding discovery
               requests and any additional materials requested by the Court related to matters to
               be addressed at the Continued Hearing no later than five (5) days after such ruling
               or order;

        iii.   The depositions of fact and expert witnesses shall be completed not less than five
               (5) days before the Continued Hearing; and

        iv.    The Parties shall file and serve their supplemental briefs and any accompanying
               declarations four (4) days before the Continued Hearing. The same deadline shall
               apply to any supporting party’s or objecting party’s joinders or statements in
               support or opposition to the Proposed Sale. No replies shall be permitted.

       9.      The deadline for FitzWalter to object to Debtors’ Estimation Motion shall be

March 10, 2022, at 12:00 p.m. (ET).

       10.     The undersigned hereby represent and warrant that, to the best of their good faith

knowledge and belief, they have full authority to execute this Stipulation & Order on behalf of

the respective Parties and that the respective Parties have full knowledge of and have consented

to this Stipulation & Order.

       11.     The Parties shall not alter or modify this Stipulation & Order, except through an

agreement of all Parties (which may be through email between counsel) or by order of the Court.

       12.     This Stipulation & Order may be executed and delivered (including by email or

facsimile) in one or more counterparts, and by the different Parties hereto in separate

counterparts, each of which when executed will be deemed to be an original, but all of which

taken together will constitute one and the same agreement.
                                                                                                       Formatted: Centered



                                         03958-61590/13226370.1   8
   21-12075-dsj     Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15         Main Document
                                           Pg 97 of 121




Dated:


                                       HONORABLE DAVID S. JONES
                                       UNITED STATES BANKRUPTCY JUDGE


IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD


Dated: New York, New York
       March __, 2022


                              TOGUT, SEGAL & SEGAL LLP

                              Frank A. Oswald
                              Kyle J. Ortiz
                              Brian F. Shaughnessy
                              Jared C. Borriello
                              One Penn Plaza, Suite 3335
                              New York, New York 10119
                              Telephone: (212) 594-5000
                              Email: frankoswald@teamtogut.com
                                      kortiz@teamtogut.com
                                      bshaughnessy@teamtogut.com
                                      jborriello@teamtogut.com

                              Counsel to the Debtors and Debtors in Possession




                                                                                 Formatted: Centered



                                03958-61590/13226370.1   9
  21-12075-dsj      Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15               Main Document
                                           Pg 98 of 121




Dated: New York, New York
       March __, 2022

                              VEDDER PRICE P.C.

                              Michael J. Edelman
                              Jeremiah Vandermark
                              1633 Broadway, 31st Floor
                              New York, NY 10019
                              Telephone: (212) 407-7700
                              Email: MJEdelman@VedderPrice.com
                                      JVandermark@VedderPrice.com

                              Counsel to JP Lease Products & Services Co., Ltd., and
                              JLPS Ireland Limited




                                                                                       Formatted: Centered



                               03958-61590/13226370.1   10
  21-12075-dsj      Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                           Pg 99 of 121




Dated: New York, New York
       March __, 2022

                              DEBEVOISE & PLIMPTON LLP

                              Sidney P. Levinson
                              Isabella M. Cusano
                              919 Third Avenue
                              New York, NY 10022
                              Telephone: (212) 909-6000
                              Facsimile: (212) 9090-6836
                              Email: slevinson@debevoise.com
                                       imcusano@debevoise.com

                              Counsel to JLPS Leasing Uranus Limited
                              and JLPS Leasing Draco Limited




                                                                           Formatted: Centered



                               03958-61590/13226370.1   11
  21-12075-dsj          Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                               Pg 100 of 121




Dated: March __, 2022

                                  QUINN EMANUEL URQUHART & SULLIVAN, LLP

                                  Benjamin I. Finestone
                                  Zachary R. Russell
                                  51 Madison Avenue, Fl. 22
                                  New York, NY 10010
                                  Telephone: (212) 849-7000
                                  Facsimile: (212) 849-7100
                                  Email: benjaminfinestone@quinnemanuel.com
                                          zacharyrussell@quinnemanuel.com

                                  Justin C. Griffin (pro hac vice)
                                  Eric Winston (pro hac vice)
                                  865 South Figueroa Street, Fl. 10
                                  Los Angeles, CA 90017
                                  Telephone: (213) 443-3000
                                  Email: justingriffin@quinnemnauel.com
                                           ericwinston@quinnemanuel.com

                                  Asher B. Griffin (pro hac vice)
                                  300 West 6th Street, Suite 2010
                                  Austin, TX 78710
                                  Telephone: (737) 667-6103
                                  Email: ashergriffin@quinnemnauel.com

                                  Counsel to FitzWalter Capital
                                  Partners (Financial Trading) Limited




                                                                               Formatted: Centered



                                   03958-61590/13226370.1   12
    21-12075-dsj           Doc 175      Filed 03/18/22 Entered 03/18/22 18:04:15                  Main Document
                                                   Pg 101 of 121




                                        SCHEDULE 1

IN THE HIGH COURT OF JUSTICE Claim No. QB-2022-000199
QUEEN’S BENCH DIVISION
MEDIA AND COMMUNICATIONS LIST

Before:
Dated:

BETWEEN

         FITZWALTER CAPITAL PARTNERS (FINANCIAL TRADING) LIMITED
                                                              Claimant
                                  And

                         (1) JP LEASE PRODUCTS & SERVICES LIMITED
                                 (2) JLPS IRELAND LIMITED
                             (3) JLPS LEASING DRACO LIMITED
                             (4) JLPS LEASING URANUS LIMITED
                                 (5) HEINRICH LOECHTEKEN
                                                                                     Defendants


                                        [Draft] ORDER




UPON the Court having power to stay proceedings by CPR 3.1(2)(f),

UPON the Claimant having filed an application for alternative service on the First to Fourth
Defendants and permission to serve the Fifth Defendant out of the jurisdiction,

UPON the First and Second Defendants having filed an application to challenge the Court’s
jurisdiction under CPR 11,

UPON the Order of Mr Justice Nicklin dated 8 March 2022 (the “8 March Order”),

AND UPON the Claimant and the First to Fourth Defendants having agreed to stay these
proceedings,

BY CONSENT IT IS ORDERED THAT:
1. These proceedings are stayed until 22 April 2022.
                                                                                                  Formatted: Tab stops: Not at 6.5"



03958-61590/13226370.1
     21-12075-dsj           Doc 175      Filed 03/18/22 Entered 03/18/22 18:04:15                      Main Document
                                                    Pg 102 of 121




2.    The 8 March Order is varied as follows:

        (a) the dates referred to at paragraph 1 are extended to 7 June 2022 and 21 December
            2022 respectively;

        (b) the date referred to at paragraph 2 is extended to 29 April 2022;

        (c) the date referred to at paragraph 3 is extended to 13 May 2022;

        (d) the date referred to at paragraph 4 is extended to 27 May 2022; and

        (e) the date referred to at paragraph 11 is extended to 29 April 2022.



3.    The First to Fourth Defendants shall not be deemed to have submitted to the jurisdiction of
      the Court by agreeing to the terms covered by this order.

4.    There shall be no order as to costs.

Dated this     day of                   2022
We consent to an order being made in the above terms

Signed:                                         Signed:

……………………………                                     ………………………………
Quinn Emanuel Urquhart & Sullivan LLP           Alius Law
For and on behalf of the Claimant               For and on behalf of the First and Second Defendants
                                                (without prejudice to jurisdiction)




Signed:                                         Signed:

……………………………                                     ………………………………
JLPS Leasing Draco Limited                      JLPS Leasing Uranus Limited
(without prejudice to jurisdiction)             (without prejudice to jurisdiction)




                                                                                                       Formatted: Centered



                                         03958-61590/13226370.1   2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 103 of 121




                                     Exhibit 4
21-12075-dsj        Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15                    Main Document
                                             Pg 104 of 121


3456789 1 11
7811!1"#""1#$"%1&1
'578()1* ++(1
,-78*1. /10+1123/1* 45 16 2 /1)2 1788 /191: 2/1;1
<++/195+1= +./12219/1*102+/1> 12?/165 1@./1
A1BC++/1+1*?/1B 1@/1&17881
DEF-78<9$1)&G=8212H+21I1&. 111
JK-L6M78<$1)&G=8212H+21I1&. 11/1<$1)&G=8212H+21I1&. 11/1
<$1)&G=8212H+21I1&. 11/1<9$1)&G=8212H+21I1&. 111
2
NOPQR2S2
2
TU2VWXQR2YV2ZWWXVWXQ2[2WZ2X\Q2W]^Q_XYWV2̀Q2ZYaQR2WV2bQ]PcOPd2efg2hihhg2
j_kOVV2bYXlmQPOaR2noj_kOVVpqg2X\Q2rPYU\2aO`2ZYPs2tcPtWPXYVm2XW2O_X2WV2
]Q\OaZ2WZ2WcP2_aYQVXUg2\OU2tPQuYWcUad2UQVX2aQXXQPU2UcmmQUXYVmg2OsWVm2WX\QP2
X\YVmUg2X\OX2X\Q2PQUYmVOXYWVU2WZ2X\Q2tPYWP2RYPQ_XWPU2̀QPQ2UWsQ\W`2VWX2
uOaYRv22TaX\Wcm\2̀Q2PQmOPR2j_kOVVwU2tWUYXYWV2OU2̀YX\WcX2sQPYXg2̀Q2\OuQ2
W]UQPuQR2O2\Ym\2RQmPQQ2WZ2O_PYsWVd2OsWVm2Oaa2tOPXYQU2YV2X\YU2]OVxPctX_d2
tPW_QQRYVm2OVR2X\Q2PQaOXQR2aYXYmOXYWVv22jWPQWuQPg2j_kOVV2\OU2RQ_aYVQR2WcP2
PQycQUX2XW2tPWuYRQ2ZYaQU2YV2YXU2tWUUQUUYWV2PQaOXYVm2XW2YXU2tcPtWPXQR2
PQtPQUQVXOXYWV2WZ2WcP2_aYQVXUv2222T__WPRYVmadg2̀Q2scUX2YVUYUX2ctWV2YV_acUYWV2
WZ2X\Q2aOVmcOmQg2̀\Y_\2PQtPQUQVXU2OVR2̀OPPOVXU2XW2X\Q2]QUX2WZ2WcP2mWWR2
ZOYX\2xVW`aQRmQ2OVR2]QaYQZ2X\OX2̀Q2\OuQ2OcX\WPYXd2XW2QzQ_cXQ2X\Q2UXYtcaOXYWV2
OVRg2ZPWs2O2_WssQP_YOa2UXOVRtWYVXg2U\WcaR2]Q2QVXYPQad2UcZZY_YQVX2ZWP2X\Q2
{Q]XWPUw2tcPtWUQUv2
2
r2̀WcaR2]Q2PQsYUU2YV2OaUW2VWXYVm2X\OX2̀Q2UQVX2dWc2X\Q2aOVmcOmQ2YV2
|OPOmPOt\2ei2WV2jWVROd2nUYz2ROdU2OmWqv22}WcP2QsOYaU2WuQP2X\Q2_WcPUQ2WZ2
X\Q2̀QQx2RYR2VWX2POYUQ2OVd2_WV_QPV2̀YX\2WcP2aOVmcOmQv222rZ2X\YU2̀QPQ2XPcad2OV2
YUUcQg2X\Q2]QXXQP2tPO_XY_Q2̀WcaR2\OuQ2]QQV2XW2POYUQ2YX2UWWVQPv22
222
~QX2cU2xVW`2\W`2dWc2̀OVX2XW2tPW_QQRv2
2
\
1
   OVxUg2YRv2
  1
                  1|OPXVQP11{Q]QuWYUQ22|aYstXWV2~~|11UaQuYVUWVRQ]QuWYUQv_Ws11e2heh2i2e1
```vRQ]QuWYUQv_Ws1
1
345671)1* ++14C ++252.2511
7111!1"#""1$!1&1
'5719 1 11+ C 51
,-71*1. 1C. 252.25/10+11231?23252.25/1
* 45 16 2 1C 45 8 2  5+5/1)2 17881
                                                         0
1                                                       
2
21-12075-dsj    Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15        Main Document
                                      Pg 105 of 121


42 .88 5+5/191: 21> 2 5+5/1;1<++1
3++ 5+5/195+1= +.15++. 5+5/1221
9122+ 5+5/1*102+1C?2+252.25/1> 12?1
H> C 5/165 1@.185 C 5/1A1BC++1
5C 5/1+1*?1H+C? 5+5/1B 1@1
  5+5/1&17881.88  5+51
DEF-71<$1)&G=8212H+21I1&. 111
1
$111
1
1 18+15+2H+1C4212181.211+211C+818121BG91121
1+1111+1811:2121111
1
)1A1* ++1
 .21.+1I1.+1991
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
1
=21 +$1£""¤1"#¥¡%1
C+$11£¦¤1¡"¥"#!1
6§$1£""¤1%¥¦"¡¨11
1
>>>2.2+>8551
1
1 11!1"#""121$""1&19 1 11+ C 51>2$1
1
)1©1
11
 191121. C+1211 181.H1#1H+1 2121+..11 1
+211121.11101
11
 ?11
11
  1
                  1|OPXVQP11{Q]QuWYUQ22|aYstXWV2~~|11UaQuYVUWVRQ]QuWYUQv_Ws11e2heh2i2
e1̀``vRQ]QuWYUQv_Ws1
11
345671&1788 1.88 5+511
7111!1"#""1̈$""1&1
'571)1* ++14C ++252.251
,-71*1. 1C. 252.25/10+11231?23252.25/19 1
 11+ C 5/1* 45 16 2 1C 45 8 2  5+5/1
)2 1788 142 .88  5+5/191: 21> 2 5+5/1
;1<++13++ 5+5/195+1= +.1
5++. 5+5/12219122+ 5+5/1*102+1
C?2+252.25/1> 12?1H> C 5/165 1@.1
85 C 5/1A1BC++15C 5/1+1*?1

1                                            ª
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 106 of 121


H+C? 5+5/1B 1@1  5+51
DEF-71<$1)&G=8212H+21I1&. 111
11
&5 .121+ 121121+1.1> 11. 188111188§11.211
1
1 11!1"#""121̈$#¦1&1)1* ++14C ++252.251>2$1
11
                               «¬­'¬®¯J°8¬±J²°8³4568FE544´µµ5¶K65·D-̧56¹0
21
&$1111                                                                          1
11
  1HH18 +1 1812H+211+ 1> .118>15 1.11221+1
851>2111. 18811212H+211>21> 1188§11+2 1
.2111C+81C818+.1
11
$1
11
5 1211+1851>2111. 18811212H+211>21> 1188§1
1+2 1.2111C+81C818+.1
11
  ?1
11
1
)1A1* ++1
  .21.+1I1.+1991
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
1
=21 +$1£""¤1"#¥¡%1
C+$11£¦¤1¡"¥"#!1
6§$1£""¤1%¥¦"¡¨11
1
>>>2.2+>8551
1
1 11"1"#""121#$¡11&1788 1.88  5+51>2$1
11
)1
1111111111111111&221121521 21 181212H1121 211221> 1
+2111121+ 1 11211512 .122121 1 1C 1
HH 1C1  1
11
º»¼½¾¿ÀÁ¿Â¾ÃÄÄÃÅÆ
ÇÈÉÊËÌËÍÎÌÍÆÏËÐÑÌÒÐÆÉÆÓÔÕÑÎÌÆ

1                                       Ö
2
21-12075-dsj   Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                     Pg 107 of 121


×ØÙÚÛØ ÜÝÞßØàÛÞáâØÜÜÛã2
TcUXYVg2QzOU1
{YPQ_X2{YOa2nffq2fäei2
jW]YaQ2nåehq2[eiäiåh2
OU\QPmPYZZYVycYVVQsOVcQav_Ws2
```vycYVVQsOVcQav_Ws1
11
11
11
345671)1* ++14C ++252.2511
71211"1"#""1$"11
'571&1788 1.88 5+51
,-71*1. 1C. 252.25/10+11231?23252.25/19 1
 11+ C 5/1* 45 16 2 1C 45 8 2  5+5/1
)2 1788 142 .88  5+5/191: 21> 2 5+5/1
;1<++13++ 5+5/195+1= +.1
5++. 5+5/12219122+ 5+5/1*102+1
C?2+252.25/1> 12?1H> C 5/165 1@.1
85 C 5/1A1BC++15C 5/1+1*?1
H+C? 5+5/1B 1@1  5+51
DEF-71<$1)&G=8212H+21I1&. 111
11
                           «¬­'¬®¯J°8¬±J²°8³4568FE544´µµ5¶K65·D-̧56¹1
21
&$1                                                                                1
11
: 18 1>2121 1 2111
B811251+1 15 121 1 2112.21>2121+221 181212H1B11
H212.211§21 11
11
1
æK4ç8,8̧è544´µµ51
'5·Dé8·Kµ8ê8·Kµ8°°ë1
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
11
=21 +$1£""¤1"#¥¡%1
6§$1£""¤1%¥¦"¡¨11
>>>2.2+>8551
11
1 11"1"#""121"$!¦11&1788 1.88 5+51>2$1
11
+1+211?>12122181212H+21ì911= C 1 1. 188118 1C+>1

1                                         í
2
21-12075-dsj        Doc 175       Filed 03/18/22 Entered 03/18/22 18:04:15                       Main Document
                                             Pg 108 of 121


11
1 11 1"#""121¡$#¦11B 1@1  5+51>2$1
11
= 1++1
11
+1 12211H218218121 211>11C 1. 1>21= C 1
11
0 1.1
B 1
11
3456719 1 11+ C 511
71 11"#""1¡$¦11
'571()1* ++(14C ++252.251
,-71* 45 16 2 1C 45 8 2  5+5/1B 1@1
  5+5/1&17881.88  5+5/1)2 17881
42 .88 5+5/191: 21> 2 5+5/1;1<++1
3++ 5+5/195+1= +.15++. 5+5/1221
9122+ 5+5/1*102+1C?2+252.25/10+11231
?23252.25/1*1. 1C. 252.25/1> 12?1
H> C 5/165 1@.185 C 5/1A1BC++1
5C 5/1+1*?1H+C? 5+51
DEF-71<9$1)&G=8212H+21I1&. 111
11
                            «¬­'¬®¯J°8¬±J²°8³4568Mµî´M5¶çEî5Ḿ-̧56¹1
21
                                                                                1
NOPQR2S1
21
ïV2]Q\OaZ2WZ2X\Q2~QUUWPUg2̀Q2OPQ2OsQVO]aQ2XW2UYmVYVm2X\Q2_WVUQVX2WPRQP2YV2
X\Q2ðñ2n`Q2RYR2\OuQ2O2_WctaQ2WZ2sYVWP2_\OVmQU2XW2X\OX2Qz\Y]YX2X\OX2̀Q2OPQ2
PcVVYVm2]d2òcYVV2ðñ2VW`2OVR2X\OX2̀Q2RWVwX2X\YVx2U\WcaR2]Q2_WVXPWuQPUYOaq2
OVRg2]d2QzXQVUYWVg2XW2UYmVYVm2X\Q2UXYtcaOXYWV2XWROdv1
21
QtOPOXQadg2r2\OuQ2VWX2UQQV2OVd2PQuYUQR2T|Tg2\OU2WVQ2]QQV2ZYaQRó22rZ2VWXg2
taQOUQ2UQVR2cU2X\Q2sWUX2_cPPQVX2RPOZX2VW`v1
21
\OVxUg2YRv1
11
  1
                  1|OPXVQP11{Q]QuWYUQ22|aYstXWV2~~|11UaQuYVUWVRQ]QuWYUQv_Ws11e2heh2i2
e1̀``vRQ]QuWYUQv_Ws1
11
345671)1* ++14C ++252.2511
71611 1"#""1 $¡¦1&1
'5719 1 11+ C 51

1                                                        ô
2
21-12075-dsj    Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15        Main Document
                                      Pg 109 of 121


,-71* 45 16 2 1C 45 8 2  5+5/1B 1@1
  5+5/1&17881.88  5+5/1)2 17881
42 .88 5+5/191: 21> 2 5+5/1;1<++1
3++ 5+5/195+1= +.15++. 5+5/1221
9122+ 5+5/1*102+1C?2+252.25/10+11231
?23252.25/1*1. 1C. 252.25/1> 12?1
H> C 5/165 1@.185 C 5/1A1BC++1
5C 5/1+1*?1H+C? 5+51
DEF-71<$1)&G=8212H+21I1&. 111
11
921.2121 121
1
æK4ç8,8̧è544´µµ51
'5·Dé8·Kµ8ê8·Kµ8°°ë1
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
11
=21 +$1£""¤1"#¥¡%1
6§$1£""¤1%¥¦"¡¨11
>>>2.2+>8551
11
1 11#1"#""121#$#%1&19 1 11+ C 51>2$1
11
 211211>2121C 82181212+18521H 1C1ì 121> 1
 §H21211C111H2121H1>21H212121HH1ì 1.12111
11
  1
                  1|OPXVQP11{Q]QuWYUQ22|aYstXWV2~~|11UaQuYVUWVRQ]QuWYUQv_Ws11e2heh2i2
e1̀``vRQ]QuWYUQv_Ws1
11
345671* 45 16 2 1C 45 8 2  5+511
7111#1"#""1#$#!1&1
'571)1* ++14C ++252.25/1B 1@1  5+51
,-719 1 11+ C 5/1&1788 1.88  5+5/1
)2 1788 142 .88  5+5/191: 21> 2 5+5/1
;1<++13++ 5+5/195+1= +.1
5++. 5+5/12219122+ 5+5/1*102+1
C?2+252.25/10+11231?23252.25/1*1. 1
C. 252.25/1> 12?1H> C 5/165 1@.1
85 C 5/1A1BC++15C 5/1+1*?1

1                                            õ
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 110 of 121


H+C? 5+51
DEF-71<9$1)&G=8212H+21I1&. 111
11
B12 ?1212211= C 1 .11+21181211ö01H111C1+1>21
H2121++1  211 11+ 218121!G¦1 .1> 11++1H  .11
12+31. 5 21
11
÷øù0úûùøüýþùø0
0102345267410899ûø0
516234270030 þûø1
11
345671)1* ++14C ++252.2511
7111#1"#""1#$##1&1
'571B 1@1  5+51
,-719 1 11+ C 5/1&1788 1.88  5+5/1
* 45 16 2 1C 45 8 2  5+5/1)2 17881
42 .88 5+5/191: 21> 2 5+5/1;1<++1
3++ 5+5/195+1= +.15++. 5+5/1221
9122+ 5+5/1*102+1C?2+252.25/10+11231
?23252.25/1*1. 1C. 252.25/1> 12?1
H> C 5/165 1@.185 C 5/1A1BC++1
5C 5/1+1*?1H+C? 5+51
DEF-71<$1)&G=8212H+21I1&. 111
11
                            «¬­'¬®¯J°8¬±J²°8³4568FE544´µµ5¶K65·D-̧56¹1
21
B1211 12H+21221. .121C1+211                                 1
1
)1A1* ++1
  .21.+1I1.+1991
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
1
=21 +$1£""¤1"#¥¡%1
C+$11£¦¤1¡"¥"#!1
6§$1£""¤1%¥¦"¡¨11
1
>>>2.2+>8551
11
1 111"#""121 $¡%1&1B 1@1  5+51>2$1
11
1

1                                        
2
21-12075-dsj    Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15        Main Document
                                      Pg 111 of 121


11
 ?18115+11+51851>1+ 1210 .511952111+ 21
H1. 211"1)1"#""11 5 1 11"¡1)1"#""1B211281C 1 1
  11>21A<1 1121H 18121B25 219121&.5 211
B25 21911B25 2191 211&. 219221
11
1 121C11+ 211H2 12121. .1H  .1£ 18121 1218+1
?>+.5 2181¤1>1>++12 1. 2125111>2121A21
118121121.121 2111. 121121: 11HH121+1+..1221
12211+ 21. 5 212121 2111>221H41212 1H21121
4211+118121+518511H2+181+51
11
0 1.1
B 11
11
3456719 1 11+ C 511
71#11"#""1¦$"%11
'571()1* ++(14C ++252.25/1&1788 1.88  5+51
,-71* 45 16 2 1C 45 8 2  5+5/1)2 1788 1
42 .88 5+5/191: 21> 2 5+5/1;1<++1
3++ 5+5/195+1= +.15++. 5+5/1221
9122+ 5+5/1*102+1C?2+252.25/10+11231
?23252.25/1*1. 1C. 252.25/1> 12?1
H> C 5/165 1@.185 C 5/1A1BC++1
5C 5/1+1*?1H+C? 5+5/1B 1@1
  5+51
DEF-71<9$1)&G=8212H+21I1&. 111
11
                               «¬­'¬®¯J°8¬±J²°8³4568Mµî´M5¶çEî5Ḿ-̧56¹1
21
)11&1¥16511HH2 1> 1 21 111811+ 21>1 12121C 11
 121.121 2112 .1219.+1H  .1C211C+1121H214 .121
 211H1 .112 21>2121.1> 1HH11£B151.+121H?1
>21ì 12+1C212181+H8+¤11: 112>18 1>21212181219.+1H  .1
2211C 1HH111
11
  1
                  1|OPXVQP11{Q]QuWYUQ22|aYstXWV2~~|11UaQuYVUWVRQ]QuWYUQv_Ws11e2heh2i2
e1̀``vRQ]QuWYUQv_Ws1
11
345671)1* ++14C ++252.2511
71:  111"#""1 $#1&1
'571&1788 1.88 5+5/19 1 11+ C 51
,-71* 45 16 2 1C 45 8 2  5+5/1)2 1788 1
42 .88 5+5/191: 21> 2 5+5/1;1<++1
3++ 5+5/195+1= +.15++. 5+5/1221
9122+ 5+5/1*102+1C?2+252.25/10+11231
?23252.25/1*1. 1C. 252.25/1> 12?1

1                                            
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15     Main Document
                                    Pg 112 of 121


H> C 5/165 1@.185 C 5/1A1BC++1
5C 5/1+1*?1H+C? 5+5/1B 1@1
  5+51
DEF-71<$1)&G=8212H+21I1&. 111
11
&$1
11
: 1421 18 C?18519.+1+11>++15 1C?121111
11
$1
11
&11. 1881121HH1.1
11
  ?111
11
1
æK4ç8,8̧è544´µµ51
'5·Dé8·Kµ8ê8·Kµ8°°ë1
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
11
=21 +$1£""¤1"#¥¡%1
6§$1£""¤1%¥¦"¡¨11
>>>2.2+>8551
11
1 111"#""121#$¡1&1&1788 1.88 5+51>2$1
11
)1
11111& 1H21 1212H+21
11
¥1&1
11
1 11̈1"#""121¡$¡¡11)1* ++14C ++252.251>2$1
11
                           «¬­'¬®¯J°8¬±J²°8³4568FE544´µµ5¶K65·D-̧56¹1
21
= 1&$11                                                                      1

1                                         
2
21-12075-dsj      Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15              Main Document
                                         Pg 113 of 121


11
:  18>121HH1 1219.+1+11>++15 1C?1211 1>  1
12++117 12125 188 121>++1+?+1C125>11
1
)1A1* ++1
  .21.+1I1.+1991
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
1
=21 +$1£""¤1"#¥¡%1
C+$11£¦¤1¡"¥"#!1
6§$1£""¤1%¥¦"¡¨11
1
>>>2.2+>8551
11
1 11̈1"#""121¦$¡¨11&1788 1.88 5+51>2$1
11
@ ++1++1
11111111111111111)1911)918+.121121911>++11 12121
2H+211&821218+.12191A21 211212121H2 1>2112211
22 .1 +1+ 11¢>1221219 12112 11. 1221> 1 121
2121H  .11C121421++ .1>18+11212112122121
>212112111421++ .1HH+212.21> 1 12112211
1> ++11
11
               : 12 ?121C211+ 21>18>1181++1H2 1£212192? ¤1121. 1
211 211212121H  .11§2 121+ 112191211&11
H2+1522121.5 21>++1C15+12121.5 21121 218212H+21
>21218++> .188 $1
                0000000++18121H  .1+ .111HH+21>++1C12/1
               "000000021821 211 121+ 112111>1 1. ++1C 1
                       5 1C?1C1¦¡11C .1215C1811C2> 1211""1&H+/11
               !0000000B25 2191£=!11=¦¤1+1.121 2111219 121
                       1+18121251
                            0000000&121=!G=¦1> 11. 15H1221> 11HH18121. 5 21211
                                    2121C1>221H4121= ¥=¦1H21121421
11
  1H2 1>++1 121. 121>?12.21C1. 1212121> 1>++1 121C1
+21> 185 .121218121 211. 1221214.11+12? .1221
121+2121219 111: 12 ?121>+1C1HHH2121 11C 81+2212121
2121§H+ 1>121H2 1>+1+?1121121>11>1215.21+H1>121
 G+ 12 15221C2> 121H2 1
11

1                                                 
2
21-12075-dsj    Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15        Main Document
                                      Pg 114 of 121


1111111111111111+1 >121 121212H+211+211?>112.21
11
º»¼½¾¿ÀÁ¿Â¾ÃÄÄÃÅÆ
ÇÈÉÊËÌËÍÎÌÍÆÏËÐÑÌÒÐÆÉÆÓÔÕÑÎÌÆ
×ØÙÚÛØ ÜÝÞßØàÛÞáâØÜÜÛã2
TcUXYVg2QzOU1
{YPQ_X2{YOa2nffq2fäei2
jW]YaQ2nåehq2[eiäiåh2
OU\QPmPYZZYVycYVVQsOVcQav_Ws2
```vycYVVQsOVcQav_Ws1
11
11
11
345671&1788 1
7111̈1"#""1$#¨1&1
'571)1* ++14C ++252.25/1* 45 16 2 1
C 45 8 2  5+51
,-719 1 11+ C 5/1)2 1788 142 .88  5+5/1
91: 21> 2 5+5/1;1<++13++ 5+5/1
95+1= +.15++. 5+5/12219122+ 5+5/1
*102+1C?2+252.25/10+11231?23252.25/1*1. 1
C. 252.25/1> 12?1H> C 5/165 1@.1
85 C 5/1A1BC++15C 5/1+1*?1
H+C? 5+5/1B 1@1  5+51
DEF-71<9$1)&G=8212H+21I1&. 111
11
6B11912511 > .1H.H1181212H+21121HH111219 1
12125 181218+.1C1)1911)91B+19521121911>++1
  2211 1
11
11
º»¼½¾¿ÀÁ¿Â¾ÃÄÄÃÅÆ
ÇÈÉÊËÌËÍÎÌÍÆÏËÐÑÌÒÐÆÉÆÓÔÕÑÎÌÆ
×ØÙÚÛØ ÜÝÞßØàÛÞáâØÜÜÛã2
TcUXYVg2QzOU1
{YPQ_X2{YOa2nffq2fäei2
jW]YaQ2nåehq2[eiäiåh2
OU\QPmPYZZYVycYVVQsOVcQav_Ws2
```vycYVVQsOVcQav_Ws1
11
11
345671)1* ++14C ++252.2511
7111%1"#""1$¡11
'571* 45 16 2 1C 45 8 2  5+51
,-719 1 11+ C 5/1&1788 1.88  5+5/1
)2 1788 142 .88  5+5/191: 21> 2 5+5/1
;1<++13++ 5+5/195+1= +.1
5++. 5+5/12219122+ 5+5/1*102+1
C?2+252.25/10+11231?23252.25/1*1. 1
C. 252.25/1> 12?1H> C 5/165 1@.1

1                                           
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 115 of 121


85 C 5/1A1BC++15C 51
DEF-71<$1)&G=8212H+21I1&. 111
11
                            «¬­'¬®¯J°8¬±J²°8³4568FE544´µµ5¶K65·D-̧56¹1
21
* $111                                                                           1
11
: 1>2 .181.1881111811 16+.11HH 1?+11215 21
  18 +3111
11
   ?11
1
)1A1* ++1
   .21.+1I1.+1991
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
1
=21 +$1£""¤1"#¥¡%1
C+$11£¦¤1¡"¥"#!1
6§$1£""¤1%¥¦"¡¨11
1
>>>2.2+>8551
11
1 11%1"#""121$¦¨11* 45 16 2 1C 45 8 2  5+51>2$1
11
1.11H2C+1216:111>++1C18+125>11
11
* 16 2 1
£%¤1̈¦¥!""¨1
2£!¤1¡##¥#¨¦%1
11
3456719 1 11+ C 511
7111%1"#""1¦$¦¨11
'571)1* ++14C ++252.251
,-71* 45 16 2 1C 45 8 2  5+5/1&1788 1
.88 5+5/1)2 1788 142 .88 5+5/191: 21
> 2 5+5/1;1<++13++ 5+5/195+1
= +.15++. 5+5/12219122+ 5+5/1*1
02+1C?2+252.25/10+11231?23252.25/1*1. 1
C. 252.25/1> 12?1H> C 5/165 1@.1
85 C 5/1A1BC++15C 51
DEF-71<9$1)&G=8212H+21I1&. 111
11
                            «¬­'¬®¯J°8¬±J²°8³4568Mµî´M5¶çEî5Ḿ-̧56¹1

1                                       ª
2
21-12075-dsj    Doc 175     Filed 03/18/22 Entered 03/18/22 18:04:15         Main Document
                                       Pg 116 of 121


21
)1©11                                                                                       1
11
11 12121 181211+21C1* 1+1211221£+11
C+?+ ¤1>1H2121.1B1 21211+21:  11+1+215 1?>1811 1
211>21211
11
 ?11
11
11
11
  1
                  1|OPXVQP11{Q]QuWYUQ22|aYstXWV2~~|11UaQuYVUWVRQ]QuWYUQv_Ws11e2heh2i2
e1̀``vRQ]QuWYUQv_Ws1
11
3456719 1 111
7111%1"#""1$%11
'571)1* ++14C ++252.251
,-71* 45 16 2 1C 45 8 2  5+5/1&1788 1
.88 5+5/1)2 1788 142 .88 5+5/191: 21
> 2 5+5/1;1<++13++ 5+5/195+1
= +.15++. 5+5/12219122+ 5+5/1*1
02+1C?2+252.25/10+11231?23252.25/1*1. 1
C. 252.25/1> 12?1H> C 5/165 1@.1
85 C 5/1A1BC++15C 51
DEF-71<$1)&G=8212H+21I1&. 111
11
 ?1)11>++11111
Eî5Ḿ88
ê8ëµ́6581
ḉ8ë8̧°î´M51
2 1
11
+ C 51
1""1#1!1£ +¤1
11
>>>C 51
11
 1¥5+15 .112 1+1812118121 +11 22121>1211111
512 185212211H +.18 2+11§5H21851+1B81112121
  2 1H 21H+11215 212C211H12155 21C1¥5+11
2>1B21H+1281155 2+1C121¥5+1£ + .121. +15 .111
H+¤11C12+H 1£151++11++211¢ >1?121¥""¥#¥###¤112 1+211
1++1H 18121¥5+1?111

1                                            Ö
2
21-12075-dsj    Doc 175    Filed 03/18/22 Entered 03/18/22 18:04:15        Main Document
                                      Pg 117 of 121


  1+221 18111+1>1+18521C21>1> 1++2111
H221H+121121>>>C 51
11
11
11
1 11%1"#""121$¦11)1* ++14C ++252.251>2$1
1$1
11
B81B152211HH1.121>1 2 2 +11+1+1251121+ 11 1
 1218211
11
  ?1
1
)1A1* ++1
  .21.+1I1.+1991
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
1
=21 +$1£""¤1"#¥¡%1
C+$11£¦¤1¡"¥"#!1
6§$1£""¤1%¥¦"¡¨11
1
>>>2.2+>8551
11
1 11%1"#""121$#119 1 11+ C 51>2$1
11
&18>1> ++1 1 12182111.11HH1.121.H1"1 21+21> ?1
11812211&+1H+1H11251£H 11215+¤11215+11?11
11
  1
                  1|OPXVQP11{Q]QuWYUQ22|aYstXWV2~~|11UaQuYVUWVRQ]QuWYUQv_Ws11e2heh2i2
e1̀``vRQ]QuWYUQv_Ws1
11
345671)1* ++14C ++252.2511
7111%1"#""1"$!"11
'5719 1 11+ C 51
,-71* 45 16 2 1C 45 8 2  5+5/1&1788 1
.88 5+5/1)2 1788 142 .88 5+5/191: 21
> 2 5+5/1;1<++13++ 5+5/195+1
= +.15++. 5+5/12219122+ 5+5/1*1
02+1C?2+252.25/10+11231?23252.25/1*1. 1
C. 252.251
DEF-71<$1)&G=8212H+21I1&. 111

1                                            í
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 118 of 121


11
$111
11
=11 1155 2121212H+211
1
)1A1* ++1
  .21.+1I1.+1991
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
1
=21 +$1£""¤1"#¥¡%1
C+$11£¦¤1¡"¥"#!1
6§$1£""¤1%¥¦"¡¨11
1
>>>2.2+>8551
11
1 11%1"#""121 $¦!1&1* 45 16 2 1C 45 8 2  5+51>2$1
11
B121?>1C21= C 1121?>1>1++11?H21251121+H1 121> ? 1
12118121 125 11
: 11.1£5 .1155 2185121C11H+1HH 2¤1
11
÷øù0úûùøüýþùø0
0102345267410899ûø0
516234270030 þûø1
11
345671)1* ++14C ++252.2511
7111%1"#""1 $¦1&1
'571* 45 16 2 1C 45 8 2  5+51
,-719 1 11+ C 5/1&1788 1.88  5+5/1
)2 1788 142 .88  5+5/191: 21> 2 5+5/1
;1<++13++ 5+5/195+1= +.1
5++. 5+5/12219122+ 5+5/1*102+1
C?2+252.25/10+11231?23252.25/1*1. 1
C. 252.251
DEF-71<$1)&G=8212H+21I1&. 111
11
                           «¬­'¬®¯J°8¬±J²°8³4568FE544´µµ5¶K65·D-̧56¹1
21
* $11                                                                            1
11

1                                       ô
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 119 of 121


: 18 1>211HH1.11&12115155 21851ì 11= C 11B81
  21B(++1+211§2 1 11&++1.21 11
11
11
1
)1A1* ++1
 .21.+1I1.+1991
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
1
=21 +$1£""¤1"#¥¡%1
C+$11£¦¤1¡"¥"#!1
6§$1£""¤1%¥¦"¡¨11
1
>>>2.2+>8551
11
1 11%1"#""121 $!1&1* 45 16 2 1C 45 8 2  5+51>2$1
11
>211212H2125 .112111
11
÷øù0úûùøüýþùø0
0102345267410899ûø0
516234270030 þûø1
11
345671* 45 16 2 11
7111%1"#""1$!1&1
'571)1* ++14C ++252.25/19 1 11+ C 51
,-71&1788 1.88  5+5/1)2 1788 142 .88  5+5/1
91: 21> 2 5+5/1;1<++13++ 5+5/1
95+1= +.15++. 5+5/12219122+ 5+5/1
*102+1C?2+252.25/10+11231?23252.25/1*1. 1
C. 252.251
DEF-71<9$1)&G=8212H+21I1&. 111
11
5 15 155 212121HH18+.11C42121 .12155 21211
11
11
÷øù0úûùøüýþùø0
0102345267410899ûø0
516234270030 þûø1
11

1                                       õ
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 120 of 121


345671)1* ++14C ++252.2511
71111"#""1̈$!#11
'5719 1 11+ C 51
,-71* 45 16 2 1C 45 8 2  5+5/1&1788 1
.88 5+5/1)2 1788 142 .88 5+5/191: 21
> 2 5+5/1;1<++13++ 5+5/195+1
= +.15++. 5+5/12219122+ 5+5/1*1
02+1C?2+252.25/10+11231?23252.25/1*1. 1
C. 252.251
DEF-71<$1)&G=8212H+21I1&. 111
11
                           «¬­'¬®¯J°8¬±J²°8³4568FE544´µµ5¶K65·D-̧56¹1
21
$111                                                                        1
11
+1 12211
1
)1A1* ++1
 .21.+1I1.+1991
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
1
=21 +$1£""¤1"#¥¡%1
C+$11£¦¤1¡"¥"#!1
6§$1£""¤1%¥¦"¡¨11
1
>>>2.2+>8551
11
1 111"#""121̈$#119 1 11+ C 51>2$1
11
)1¥111H+1 11C+?+ 1. 2121+21 1+211?11
Eî5Ḿ88
ê8ëµ́6581
ḉ8ë8̧°î´M51
2 1
11
+ C 51
1""1#1!1£ +¤1
11
>>>C 51
11

1                                       
2
21-12075-dsj   Doc 175   Filed 03/18/22 Entered 03/18/22 18:04:15   Main Document
                                    Pg 121 of 121




 1¥5+15 .112 1+1812118121 +11 22121>1211111
512 185212211H +.18 2+11§5H21851+1B81112121
  2 1H 21H+11215 212C211H12155 21C1¥5+11
2>1B21H+1281155 2+1C121¥5+1£ + .121. +15 .111
H+¤11C12+H 1£151++11++211¢ >1?121¥""¥#¥###¤112 1+211
1++1H 18121¥5+1?111
 1+221 18111+1>1+18521C21>1> 1++2111
H221H+121121>>>C 51
11
11
11
1 111"#""121¡$¦¦11)1* ++14C ++252.251>2$1
11
11
= 1ì 12511$1
11
 18212H+211. 111221811 >1: 112+11512 1
  ¥C22 121£.18 12511+1H¤11188212185+3121. 1H1?1
2H+21H 21&++181121> 12 11 2+1
11
+1 >11+211?>1811 11211>+1+?121118215 1C421
21. .1 >11+ 21HH+1&++1.21 111
11
11
1
æK4ç8,8̧è544´µµ51
'5·Dé8·Kµ8ê8·Kµ8°°ë1
1 1 1+31121!!!¡11¢ >1?1¢1# 1
4C ++252.251
11
=21 +$1£""¤1"#¥¡%1
6§$1£""¤1%¥¦"¡¨11
>>>2.2+>8551
2H+211&. 111£.21=821!¥¥""¤§1
11
""#!#¨öH212H+211&. 11§1
11
""#!#¨öH212H+211&. 11§""#! öH21821 21
+§1

1                                       
2
